               Case 18-04002-dd                         Doc 17             Filed 08/20/18 Entered 08/20/18 16:58:38                                              Desc Main
                                                                           Document      Page 1 of 99
 Fill in this information to identify your case:

 Debtor 1                   George Louis Schweers
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Carroll Cox Schweers
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF SOUTH CAROLINA

 Case number           18-04002
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             981,300.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              67,830.62

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,049,130.62

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,056,279.37

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                5,734.46

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          1,089,019.27


                                                                                                                                     Your total liabilities $             2,151,033.10


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                9,756.81

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                9,640.71

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17           Filed 08/20/18 Entered 08/20/18 16:58:38                           Desc Main
                                                                     Document      Page 2 of 99
 Debtor 1      George Louis Schweers
 Debtor 2      Carroll Cox Schweers                                                       Case number (if known) 18-04002

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              5,734.46

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 5,734.46




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
               Case 18-04002-dd                              Doc 17             Filed 08/20/18 Entered 08/20/18 16:58:38                                    Desc Main
                                                                                Document      Page 3 of 99
 Fill in this information to identify your case and this filing:

 Debtor 1                    George Louis Schweers
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Carroll Cox Schweers
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF SOUTH CAROLINA

 Case number            18-04002                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        908 Cavalry Circle                                                             Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Mount Pleasant                    SC        29464-0000                         Land                                       entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                               $650,000.00                $650,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Charleston                                                                     Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
              Case 18-04002-dd                              Doc 17     Filed 08/20/18 Entered 08/20/18 16:58:38                                           Desc Main
                                                                       Document      Page 4 of 99
 Debtor 1        George Louis Schweers
 Debtor 2        Carroll Cox Schweers                                                                                   Case number (if known)          18-04002

       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply
       4734 Whitwill Blvd.                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       North Charleston                  SC        29418-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $58,000.00                    $58,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Charleston                                                             Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Rental Property. In addition to the first mortgage, property is also
                                                                       collateral for a mortgage note, which includes a mortgage on 4735 Linfield
                                                                       Lane and 4717 Linfield Lane.


       If you own or have more than one, list here:
 1.3                                                                   What is the property? Check all that apply
       4730 Whitwill Blvd.                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       North Charleston                  SC        29418-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $58,000.00                    $58,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Charleston                                                             Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Rental Property. In addition to the first mortgage, property is also
                                                                       collateral for a mortgage note, which includes a mortgage on 4720
                                                                       Bayfield Drive and 2150 Eleanor Drive.




Official Form 106A/B                                                      Schedule A/B: Property                                                                             page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
              Case 18-04002-dd                              Doc 17     Filed 08/20/18 Entered 08/20/18 16:58:38                                           Desc Main
                                                                       Document      Page 5 of 99
 Debtor 1        George Louis Schweers
 Debtor 2        Carroll Cox Schweers                                                                                   Case number (if known)          18-04002

       If you own or have more than one, list here:
 1.4                                                                   What is the property? Check all that apply
       4735 Linfield Lane                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       North Charleston                  SC        29418-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $58,000.00                    $58,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Charleston                                                             Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Rental Property. In addition to the first mortgage, property is also
                                                                       collateral for a mortgage note, which includes a mortgage on 4734
                                                                       Whitwill Blvd. and 4717 Linfield Lane.


       If you own or have more than one, list here:
 1.5                                                                   What is the property? Check all that apply
       4717 Linfield Lane                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       North Charleston                  SC        29418-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $58,000.00                    $58,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Charleston                                                             Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Rental Property. In addition to the first mortgage, property is also
                                                                       collateral for a mortgage note, which includes a mortgage on 4734
                                                                       Whitwill Blvd. and 4735 Linfield Lane.




Official Form 106A/B                                                      Schedule A/B: Property                                                                             page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
              Case 18-04002-dd                              Doc 17     Filed 08/20/18 Entered 08/20/18 16:58:38                                           Desc Main
                                                                       Document      Page 6 of 99
 Debtor 1        George Louis Schweers
 Debtor 2        Carroll Cox Schweers                                                                                   Case number (if known)          18-04002

       If you own or have more than one, list here:
 1.6                                                                   What is the property? Check all that apply
       4720 Bayfield Drive                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       North Charleston                  SC        29418-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $58,000.00                     $58,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Charleston                                                             Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Rental Property. In addition to the first mortgage, property is also
                                                                       collateral for a mortgage note, which includes a mortgage on 4730
                                                                       Whitwill Blvd. and 2150 Eleanor Drive.


       If you own or have more than one, list here:
 1.7                                                                   What is the property? Check all that apply
       2150 Eleanor Drive                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       North Charleston                  SC        29405-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $41,300.00                     $41,300.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Charleston                                                             Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Rental Property. In addition to the first mortgage, property is also
                                                                       collateral for a mortgage note, which includes a mortgage on 4734
                                                                       Whitwill Blvd. and 4720 Bayfield Drive.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                        $981,300.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                      Schedule A/B: Property                                                                              page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
              Case 18-04002-dd                      Doc 17             Filed 08/20/18 Entered 08/20/18 16:58:38                               Desc Main
                                                                       Document      Page 7 of 99
 Debtor 1        George Louis Schweers
 Debtor 2        Carroll Cox Schweers                                                                           Case number (if known)    18-04002

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Ford                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      F-150                                           Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2004                                            Debtor 2 only                                     Current value of the     Current value of the
         Approximate mileage:                200,500                 Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         VIN # 1FTPW14594KD23532.
         Vehicle has an inoperable                                   Check if this is community property                          $500.00                     $500.00
         engine. In addition, vehicle has                            (see instructions)

         been in a major front-end
         collision and in rough condition
         with body damage to the
         tailgate. Cost of repair exceeds
         value of the vehicle.


  3.2    Make:       Toyota                                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      4-Runner                                        Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2000                                            Debtor 2 only                                     Current value of the     Current value of the
         Approximate mileage:                355,000                 Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         VIN # JT3HN86R4Y031744B.
         Exterior paint is peeling.                                  Check if this is community property                        $2,600.00                   $2,600.00
                                                                     (see instructions)



  3.3    Make:       Lexus                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      RX-350                                          Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2016                                            Debtor 2 only
                                                                                                                       Current value of the     Current value of the
         Approximate mileage:                  24,000                Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         VIN # 2T2ZZMCAXGCO14364.
         Vehicle is leased.                                          Check if this is community property                             $0.00                        $0.00
                                                                     (see instructions)



  3.4    Make:       Honda                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      NP 550                                          Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2017                                            Debtor 2 only                                     Current value of the     Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         Moped. VIN #
         JH2AF5816HK502760. Debtor's                                 Check if this is community property                        $1,500.00                     $750.00
         son contributed $1,000 toward                               (see instructions)

         the purchase of the moped and
         has a 1/2 equitable interest in
         the property.




Official Form 106A/B                                                       Schedule A/B: Property                                                                 page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
              Case 18-04002-dd                      Doc 17             Filed 08/20/18 Entered 08/20/18 16:58:38                               Desc Main
                                                                       Document      Page 8 of 99
 Debtor 1        George Louis Schweers
 Debtor 2        Carroll Cox Schweers                                                                           Case number (if known)    18-04002

  3.5    Make:       Yamaha                                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Kodiak 400                                      Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2006                                            Debtor 2 only
                                                                                                                       Current value of the     Current value of the
         Approximate mileage:             unknown                    Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         ATV is currently inoperable.
                                                                     Check if this is community property                        $1,000.00                   $1,000.00
                                                                     (see instructions)



  3.6    Make:       Club Car                                  Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      36 volt                                         Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2000                                            Debtor 2 only
                                                                                                                       Current value of the     Current value of the
         Approximate mileage:             unknown                    Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         Golf cart was purchased in 2003
         from a golf course is in very                               Check if this is community property                          $500.00                     $500.00
         poor condition with damage to                               (see instructions)

         the front end, ripped seats, and
         burn marks.


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       Sea Hunt                                  Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      22 Navigator                                    Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2001                                            Debtor 2 only                                     Current value of the     Current value of the
                                                                     Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         with 200 HP Evinrude E-TEC                                  Check if this is community property                     $13,000.00                   $13,000.00
         motor and open trailer. Serial #                            (see instructions)

         5X5N0061H001.

  4.2    Make:       Boston Whaler                             Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      13' Sport                                       Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1965                                            Debtor 2 only                                     Current value of the     Current value of the
                                                                     Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         with 15 HP Yamaha motor and                                 Check if this is community property                      $1,500.00                     $1,500.00
         open trailer. Serial # 16430.                               (see instructions)

         Boat is in poor condition with
         hull and gel coat damage.

  4.3    Make:       GIII Boat                                 Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      1436                                            Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2002                                            Debtor 2 only                                     Current value of the     Current value of the
                                                                     Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         with 25 HP Yamaha motor and                                 Check if this is community property                         $850.00                      $850.00
         open trailer. Serial #                                      (see instructions)

         GEN09322A202. Boat
         purchased in 2015 for $850.


Official Form 106A/B                                                       Schedule A/B: Property                                                                 page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17             Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                       Document      Page 9 of 99
 Debtor 1        George Louis Schweers
 Debtor 2        Carroll Cox Schweers                                                                               Case number (if known)       18-04002

  4.4    Make:       Unknown                                   Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Unknown                                         Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       Unknown                                         Debtor 2 only
                                                                                                                              Current value of the     Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         Aluminum Trailer. Wood                                      Check if this is community property                                 $500.00                     $500.00
         boards in poor condition.                                   (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $21,200.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household goods, furnishings, supplies and other misc. items.                                                                   $9,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Miscellaneous electronics.                                                                                                      $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                    1982 Reminton 870 12 ga. ($75) , 2008 Remington 870 12 ga. ($150),
                                    1993 Browning 270 A-Bolt ($200), 1998 Marlin 22 ($75), 2003 Rossi
                                    .22/410 ($75), 2008 Ruger .22 pistol ($200), 1998 Sig Sauer .22
                                    pistol ($200).                                                                                                                    $975.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
              Case 18-04002-dd                                  Doc 17               Filed 08/20/18 Entered 08/20/18 16:58:38                            Desc Main
                                                                                    Document      Page 10 of 99
 Debtor 1         George Louis Schweers
 Debtor 2         Carroll Cox Schweers                                                                                        Case number (if known)   18-04002


                                            Clothing.                                                                                                                    $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Miscellaneous jewelry                                                                                                      $1,125.00


                                            Miscellaneous jewelry                                                                                                      $1,875.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            House pets (3 dogs). No value.                                                                                                   $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
        Yes. Give specific information.....

                                            Shipping container located at a hunting club. Container is used to
                                            store ATV when not in use. Container has no value.                                                                               $0.00


                                            Miscellaneous tool of trade.                                                                                               $2,000.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $16,975.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash.                                   $120.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.                                               Sun Trust checking (9819)                                              $393.00




Official Form 106A/B                                                                       Schedule A/B: Property                                                           page 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
             Case 18-04002-dd                       Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                      Desc Main
                                                                     Document      Page 11 of 99
 Debtor 1        George Louis Schweers
 Debtor 2        Carroll Cox Schweers                                                                    Case number (if known)   18-04002


                                      17.2.                                 Sun Trust savings (4613)                                              $2,573.39

                                                                            Sun Trust checking (0106). Account held
                                                                            jointly with Debtors' son. Debtor 2 does not
                                                                            contribute any funds into this account and
                                      17.3.                                 has no equitable interest in the account.                             $1,236.67

                                                                            Sun Trust checking (9371). Account held
                                                                            jointly with Debtors' daughter. Debtor 2 does
                                                                            not contribute any funds into this account
                                      17.4.                                 and has no equitable interest in the account.                           $714.46

                                                                            Sun Trust savings (4167). Account held
                                                                            jointly with Debtors' daughter. Debtor 2 does
                                                                            not contribute any funds into this account
                                      17.5.                                 and has no equitable interest in the account.                       $18,790.07


                                                                            Ameris Bank checking for dba Jayspen
                                      17.6.                                 Properties (7809).                                                      $999.94


                                                                            Sun Trust checking for dba Louis Schweers,
                                      17.7.                                 P. E. (5057).                                                           $200.00



                                      17.8.                                 Sun Trust checking (9637).                                            $3,082.26



                                      17.9.                                 Wells Fargo checking (7685).                                                $0.00


                                      17.10                                 Wells Fargo checking (8705). Account has a
                                      .                                     negative balance.                                                           $0.00


                                      17.11
                                      .                                     Bank of America checking (9117).                                            $0.13


                                      17.12
                                      .                                     Bank of America savings (7375).                                             $0.01


                                      17.13
                                      .                                     Ameritrade (9559).                                                      $400.47


                                      17.14
                                      .                                     BB&T checking (1760).                                                 $1,145.22


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                        % of ownership:


Official Form 106A/B                                                   Schedule A/B: Property                                                          page 9
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
             Case 18-04002-dd                        Doc 17           Filed 08/20/18 Entered 08/20/18 16:58:38                              Desc Main
                                                                     Document      Page 12 of 99
 Debtor 1         George Louis Schweers
 Debtor 2         Carroll Cox Schweers                                                                        Case number (if known)      18-04002


                                            GLS Engineering, LLC

                                            Assets: Sun Trust checking (9645) $250.20

                                            Liabilities: $3,895

                                            Liabilities as listed on schedule F exceed assets.
                                            No value.                                                                100        %                               $0.00


                                            Air Plus, LLC

                                            Business has no assets and closed in July 2017.
                                            Liabilities, as listed on schedules D & F, exceed
                                            assets.                                                                  100        %                               $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.
Official Form 106A/B                                                   Schedule A/B: Property                                                                  page 10
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
             Case 18-04002-dd                           Doc 17             Filed 08/20/18 Entered 08/20/18 16:58:38                                              Desc Main
                                                                          Document      Page 13 of 99
 Debtor 1        George Louis Schweers
 Debtor 2        Carroll Cox Schweers                                                                                            Case number (if known)        18-04002


28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

                                             Term policy. No value.                                                   Debtor 2                                                       $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $29,655.62


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
              Case 18-04002-dd                             Doc 17             Filed 08/20/18 Entered 08/20/18 16:58:38                                               Desc Main
                                                                             Document      Page 14 of 99
 Debtor 1         George Louis Schweers
 Debtor 2         Carroll Cox Schweers                                                                                                  Case number (if known)   18-04002

           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $981,300.00
 56. Part 2: Total vehicles, line 5                                                                           $21,200.00
 57. Part 3: Total personal and household items, line 15                                                      $16,975.00
 58. Part 4: Total financial assets, line 36                                                                  $29,655.62
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $67,830.62              Copy personal property total             $67,830.62

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $1,049,130.62




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                          Best Case Bankruptcy
               Case 18-04002-dd                     Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                            Desc Main
                                                                     Document      Page 15 of 99
 Fill in this information to identify your case:

 Debtor 1                George Louis Schweers
                         First Name                         Middle Name                 Last Name

 Debtor 2                Carroll Cox Schweers
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number           18-04002
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      908 Cavalry Circle Mount Pleasant,                             $650,000.00                              $109,719.35      S.C. Code Ann. §
      SC 29464 Charleston County                                                                                               15-41-30(A)(1)(a)
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2000 Toyota 4-Runner 355,000 miles                               $2,600.00                                 $2,600.00     S.C. Code Ann. §
      VIN # JT3HN86R4Y031744B. Exterior                                                                                        15-41-30(A)(2)
      paint is peeling.                                                                    100% of fair market value, up to
      Line from Schedule A/B: 3.2                                                          any applicable statutory limit

      2017 Honda NP 550                                                   $750.00                                  $300.00     S.C. Code Ann. §
      Moped. VIN # JH2AF5816HK502760.                                                                                          15-41-30(A)(7) unused portion
      Debtor's son contributed $1,000                                                      100% of fair market value, up to    of Debtor 1's (A)(1)
      toward the purchase of the moped                                                     any applicable statutory limit
      and has a 1/2 equitable interest in
      the property.
      Line from Schedule A/B: 3.4

      2006 Yamaha Kodiak 400 unknown                                   $1,000.00                                   $500.00     S.C. Code Ann. §
      miles                                                                                                                    15-41-30(A)(7) unused portion
      ATV is currently inoperable.                                                         100% of fair market value, up to    of Debtor 2's (A)(1)
      Line from Schedule A/B: 3.5                                                          any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                               Desc Main
                                                                     Document      Page 16 of 99
 Debtor 1    George Louis Schweers
 Debtor 2    Carroll Cox Schweers                                                                        Case number (if known)     18-04002
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     2000 Club Car 36 volt unknown miles                                 $500.00                                   $250.00        S.C. Code Ann. §
     Golf cart was purchased in 2003 from                                                                                         15-41-30(A)(7) unused portion
     a golf course is in very poor                                                         100% of fair market value, up to       of Debtor 2's (A)(1)
     condition with damage to the front                                                    any applicable statutory limit
     end, ripped seats, and burn marks.
     Line from Schedule A/B: 3.6

     1965 Boston Whaler 13' Sport                                      $1,500.00                                   $500.00        S.C. Code Ann. §
     with 15 HP Yamaha motor and open                                                                                             15-41-30(A)(7) unused portion
     trailer. Serial # 16430. Boat is in                                                   100% of fair market value, up to       of Debtor 1's (A)(1)
     poor condition with hull and gel coat                                                 any applicable statutory limit
     damage.
     Line from Schedule A/B: 4.2

     2002 GIII Boat 1436                                                 $850.00                                   $225.00        S.C. Code Ann. §
     with 25 HP Yamaha motor and open                                                                                             15-41-30(A)(7) unused portion
     trailer. Serial # GEN09322A202. Boat                                                  100% of fair market value, up to       of Debtor 1's (A)(1)
     purchased in 2015 for $850.                                                           any applicable statutory limit
     Line from Schedule A/B: 4.3

     Unknown Unknown Unknown                                             $500.00                                   $250.00        S.C. Code Ann. §
     Aluminum Trailer. Wood boards in                                                                                             15-41-30(A)(7) unused portion
     poor condition.                                                                       100% of fair market value, up to       of Debtor 2's (A)(1)
     Line from Schedule A/B: 4.4                                                           any applicable statutory limit

     Household goods, furnishings,                                     $9,500.00                                 $8,125.00        S.C. Code Ann. §
     supplies and other misc. items.                                                                                              15-41-30(A)(3)
     Line from Schedule A/B: 6.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Household goods, furnishings,                                     $9,500.00                                   $250.00        S.C. Code Ann. §
     supplies and other misc. items.                                                                                              15-41-30(A)(7) unused portion
     Line from Schedule A/B: 6.1                                                           100% of fair market value, up to       of Debtor 2's (A)(1)
                                                                                           any applicable statutory limit

     Miscellaneous electronics.                                        $1,000.00                                 $1,000.00        S.C. Code Ann. §
     Line from Schedule A/B: 7.1                                                                                                  15-41-30(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     1982 Reminton 870 12 ga. ($75) , 2008                               $975.00                                   $600.00        S.C. Code Ann. §
     Remington 870 12 ga. ($150), 1993                                                                                            15-41-30(A)(15)
     Browning 270 A-Bolt ($200), 1998                                                      100% of fair market value, up to
     Marlin 22 ($75), 2003 Rossi .22/410                                                   any applicable statutory limit
     ($75), 2008 Ruger .22 pistol ($200),
     1998 Sig Sauer .22 pistol ($200).
     Line from Schedule A/B: 10.1

     1982 Reminton 870 12 ga. ($75) , 2008                               $975.00                                   $375.00        S.C. Code Ann. §
     Remington 870 12 ga. ($150), 1993                                                                                            15-41-30(A)(7) unused portion
     Browning 270 A-Bolt ($200), 1998                                                      100% of fair market value, up to       of Debtor 1's (A)(1)
     Marlin 22 ($75), 2003 Rossi .22/410                                                   any applicable statutory limit
     ($75), 2008 Ruger .22 pistol ($200),
     1998 Sig Sauer .22 pistol ($200).
     Line from Schedule A/B: 10.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                               Desc Main
                                                                     Document      Page 17 of 99
 Debtor 1    George Louis Schweers
 Debtor 2    Carroll Cox Schweers                                                                        Case number (if known)     18-04002
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Clothing.                                                           $500.00                                   $325.00        S.C. Code Ann. §
     Line from Schedule A/B: 11.1                                                                                                 15-41-30(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Miscellaneous jewelry                                             $1,125.00                                 $1,125.00        S.C. Code Ann. §
     Line from Schedule A/B: 12.1                                                                                                 15-41-30(A)(4)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Miscellaneous jewelry                                             $1,875.00                                 $1,225.00        S.C. Code Ann. §
     Line from Schedule A/B: 12.2                                                                                                 15-41-30(A)(4)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Miscellaneous jewelry                                             $1,875.00                                   $650.00        S.C. Code Ann. §
     Line from Schedule A/B: 12.2                                                                                                 15-41-30(A)(7) unused portion
                                                                                           100% of fair market value, up to       of Debtor 2's (A)(1)
                                                                                           any applicable statutory limit

     Miscellaneous tool of trade.                                      $2,000.00                                 $1,825.00        S.C. Code Ann. §
     Line from Schedule A/B: 14.2                                                                                                 15-41-30(A)(6)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash.                                                               $120.00                                    $60.00        S.C. Code Ann. §
     Line from Schedule A/B: 16.1                                                                                                 15-41-30(A)(7) unused portion
                                                                                           100% of fair market value, up to       of Debtor 2's (A)(1)
                                                                                           any applicable statutory limit

     Sun Trust checking (9819)                                           $393.00                                   $393.00        S.C. Code Ann. §
     Line from Schedule A/B: 17.1                                                                                                 15-41-30(A)(7) unused portion
                                                                                           100% of fair market value, up to       of Debtor 2's (A)(1)
                                                                                           any applicable statutory limit

     Sun Trust savings (4613)                                          $2,573.39                                 $2,573.39        S.C. Code Ann. §
     Line from Schedule A/B: 17.2                                                                                                 15-41-30(A)(7) unused portion
                                                                                           100% of fair market value, up to       of Debtor 2's (A)(1)
                                                                                           any applicable statutory limit

     Ameris Bank checking for dba                                        $999.94                                   $999.94        S.C. Code Ann. §
     Jayspen Properties (7809).                                                                                                   15-41-30(A)(7) unused portion
     Line from Schedule A/B: 17.6                                                          100% of fair market value, up to       of Debtor 1's (A)(1)
                                                                                           any applicable statutory limit

     Sun Trust checking for dba Louis                                    $200.00                                   $200.00        S.C. Code Ann. §
     Schweers, P. E. (5057).                                                                                                      15-41-30(A)(7) unused portion
     Line from Schedule A/B: 17.7                                                          100% of fair market value, up to       of Debtor 1's (A)(1)
                                                                                           any applicable statutory limit

     Sun Trust checking (9637).                                        $3,082.26                                 $3,082.26        S.C. Code Ann. §
     Line from Schedule A/B: 17.8                                                                                                 15-41-30(A)(7) unused portion
                                                                                           100% of fair market value, up to       of Debtor 1's (A)(1)
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                               Desc Main
                                                                     Document      Page 18 of 99
 Debtor 1    George Louis Schweers
 Debtor 2    Carroll Cox Schweers                                                                        Case number (if known)     18-04002
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Ameritrade (9559).                                                  $400.47                                   $400.47        S.C. Code Ann. §
     Line from Schedule A/B: 17.13                                                                                                15-41-30(A)(7) unused portion
                                                                                           100% of fair market value, up to       of Debtor 1's (A)(1)
                                                                                           any applicable statutory limit

     BB&T checking (1760).                                             $1,145.22                                 $1,145.22        S.C. Code Ann. §
     Line from Schedule A/B: 17.14                                                                                                15-41-30(A)(7) unused portion
                                                                                           100% of fair market value, up to       of Debtor 2's (A)(1)
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 4 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case 18-04002-dd                     Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                   Desc Main
                                                                     Document      Page 19 of 99
 Fill in this information to identify your case:

 Debtor 1                   George Louis Schweers
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Carroll Cox Schweers
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number           18-04002
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Bank of America                          Describe the property that secures the claim:               $298,906.00               $650,000.00                     $0.00
         Creditor's Name                          908 Cavalry Circle Mount Pleasant,
         Attn: Bankruptcy                         SC 29464 Charleston County - 80%
         Nc4-105-02-77                            Business Debt
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 26012                           apply.
         Greensboro, NC 27410                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

                                 Opened
 Date debt was incurred          05/08                     Last 4 digits of account number        4299


 2.2     Bank of America                          Describe the property that secures the claim:                 $89,922.00              $650,000.00                     $0.00
         Creditor's Name                          908 Cavalry Circle Mount Pleasant,
                                                  SC 29464 Charleston County
         Attn: Bankruptcy
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 982238                          apply.
         El Paso, TX 79998                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
              Case 18-04002-dd                       Doc 17              Filed 08/20/18 Entered 08/20/18 16:58:38                                Desc Main
                                                                        Document      Page 20 of 99
 Debtor 1 George Louis Schweers                                                                               Case number (if know)   18-04002
               First Name                  Middle Name                      Last Name
 Debtor 2 Carroll Cox Schweers
               First Name                  Middle Name                      Last Name


                                 Opened
 Date debt was incurred          03/98                       Last 4 digits of account number         0443


 2.3     Carrier Enterprise, LLC                    Describe the property that secures the claim:                  $144,892.90         $981,300.00              $0.00
         Creditor's Name                            All real property in Charleston
                                                    County as noted on Schedule A.
         Lindsay Crawford                           Business Debt.
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 4216                              apply.
         Columbia, SC 29240                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
 Date debt was incurred          04/18                       Last 4 digits of account number         2074


         Ferguson Receivables,
 2.4                                                                                                                $68,691.52         $981,300.00              $0.00
         LLC                                        Describe the property that secures the claim:
         Creditor's Name                            All real property in Charleston
                                                    County as noted on Schedule A.
         c/o Samuel Fleder                          Business Debt.
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 26268                             apply.
         Raleigh, NC 27611                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
 Date debt was incurred          10/12                       Last 4 digits of account number         0787


         Lowcountry Private
 2.5                                                                                                                $80,000.00         $174,000.00              $0.00
         Lending                                    Describe the property that secures the claim:
         Creditor's Name                            4734 Whitwil Blvd., 4735 Linfield
                                                    Drive, 4717 Linfield Drive - Business
                                                    Debt
                                                    As of the date you file, the claim is: Check all that
         3713 Pine Street                           apply.
         Jacksonville, FL 32205                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
              Case 18-04002-dd                       Doc 17              Filed 08/20/18 Entered 08/20/18 16:58:38                                Desc Main
                                                                        Document      Page 21 of 99
 Debtor 1 George Louis Schweers                                                                               Case number (if know)   18-04002
               First Name                  Middle Name                      Last Name
 Debtor 2 Carroll Cox Schweers
               First Name                  Middle Name                      Last Name


    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
 Date debt was incurred          01/14                       Last 4 digits of account number         0227


         Small Business
 2.6                                                                                                               $151,452.65         $650,000.00              $0.00
         Administration                             Describe the property that secures the claim:
         Creditor's Name                            908 Cavalry Circle Mount Pleasant,
                                                    SC 29464 Charleston County -
         801 Tom Martin Drive,                      Businesss Debt
                                                    As of the date you file, the claim is: Check all that
         Suite 120                                  apply.
         Birmingham, AL 35211                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
 Date debt was incurred          02/17                       Last 4 digits of account number         5506


         The Bank of South
 2.7                                                                                                                $13,012.30          $13,000.00            $12.30
         Carolina                                   Describe the property that secures the claim:
         Creditor's Name                            2001 Sea Hunt 22 Navigator
                                                    with 200 HP Evinrude E-TEC motor
                                                    and open trailer. Serial #
                                                    5X5N0061H001.
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 538                               apply.
         Charleston, SC 29402                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
 Date debt was incurred          03/16                       Last 4 digits of account number         6278


         The Sandlapper
 2.8                                                                                                                    $948.75         $58,000.00              $0.00
         Management Group, LLC                      Describe the property that secures the claim:




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
              Case 18-04002-dd                       Doc 17              Filed 08/20/18 Entered 08/20/18 16:58:38                                Desc Main
                                                                        Document      Page 22 of 99
 Debtor 1 George Louis Schweers                                                                               Case number (if know)   18-04002
               First Name                  Middle Name                      Last Name
 Debtor 2 Carroll Cox Schweers
               First Name                  Middle Name                      Last Name


         Creditor's Name                            4717 Linfield Lane North
                                                    Charleston, SC 29418 Charleston
                                                    County
                                                    Rental Property. In addition to the
                                                    first mortgage, property is also
                                                    collateral for a mortgage note,
                                                    which includes a mortgage on 4734
                                                    Whitwill Blvd. and 4735 Linfield
                                                    Lane.
                                                    As of the date you file, the claim is: Check all that
         579 Folly Road, #13047                     apply.
         Charleston, SC 29422                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Association dues
       community debt

 Date debt was incurred          Opened                      Last 4 digits of account number


         The Sandlapper
 2.9                                                                                                                    $948.75         $58,000.00              $0.00
         Management Group, LLC                      Describe the property that secures the claim:
         Creditor's Name                            4720 Bayfield Drive North
                                                    Charleston, SC 29418 Charleston
                                                    County
                                                    Rental Property. In addition to the
                                                    first mortgage, property is also
                                                    collateral for a mortgage note,
                                                    which includes a mortgage on 4730
                                                    Whitwill Blvd. and 2150 Eleanor
                                                    Drive
                                                    As of the date you file, the claim is: Check all that
         579 Folly Road, #13047                     apply.
         Charleston, SC 29422                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Association dues
       community debt

 Date debt was incurred          Opened                      Last 4 digits of account number


 2.1     The Sandlapper
 0       Management Group, LLC                      Describe the property that secures the claim:                       $930.00         $58,000.00              $0.00




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
              Case 18-04002-dd                       Doc 17              Filed 08/20/18 Entered 08/20/18 16:58:38                                Desc Main
                                                                        Document      Page 23 of 99
 Debtor 1 George Louis Schweers                                                                               Case number (if know)   18-04002
               First Name                  Middle Name                      Last Name
 Debtor 2 Carroll Cox Schweers
               First Name                  Middle Name                      Last Name


         Creditor's Name                            4730 Whitwill Blvd. North
                                                    Charleston, SC 29418 Charleston
                                                    County
                                                    Rental Property. In addition to the
                                                    first mortgage, property is also
                                                    collateral for a mortgage note,
                                                    which includes a mortgage on 4720
                                                    Bayfield Drive and 2150 Eleanor
                                                    Drive
                                                    As of the date you file, the claim is: Check all that
         579 Folly Road, #13047                     apply.
         Charleston, SC 29422                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Association dues
       community debt

 Date debt was incurred          Opened                      Last 4 digits of account number


 2.1     The Sandlapper
 1       Management Group, LLC                      Describe the property that secures the claim:                       $973.75         $58,000.00              $0.00
         Creditor's Name                            4734 Whitwill Blvd. North
                                                    Charleston, SC 29418 Charleston
                                                    County
                                                    Rental Property. In addition to the
                                                    first mortgage, property is also
                                                    collateral for a mortgage note,
                                                    which includes a mortgage on 4735
                                                    Linfield Lane and 4717 Linfield
                                                    Lane.
                                                    As of the date you file, the claim is: Check all that
         579 Folly Road, #13047                     apply.
         Charleston, SC 29422                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Association dues
       community debt

 Date debt was incurred          Opened                      Last 4 digits of account number


 2.1     The Sandlapper
 2       Management Group, LLC                      Describe the property that secures the claim:                       $923.75         $58,000.00              $0.00




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 5 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
              Case 18-04002-dd                       Doc 17              Filed 08/20/18 Entered 08/20/18 16:58:38                                Desc Main
                                                                        Document      Page 24 of 99
 Debtor 1 George Louis Schweers                                                                               Case number (if know)   18-04002
               First Name                  Middle Name                      Last Name
 Debtor 2 Carroll Cox Schweers
               First Name                  Middle Name                      Last Name


         Creditor's Name                            4735 Linfield Lane North
                                                    Charleston, SC 29418 Charleston
                                                    County
                                                    Rental Property. In addition to the
                                                    first mortgage, property is also
                                                    collateral for a mortgage note,
                                                    which includes a mortgage on 4734
                                                    Whitwill Blvd. and 4717 Linfield
                                                    Lane.
                                                    As of the date you file, the claim is: Check all that
         579 Folly Road, #13047                     apply.
         Charleston, SC 29422                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Association dues
       community debt

 Date debt was incurred          Opened                      Last 4 digits of account number


 2.1     Wells Fargo Home
 3       Mortgage                                   Describe the property that secures the claim:                   $28,082.00          $58,000.00              $0.00
         Creditor's Name                            4730 Whitwill Blvd. North
                                                    Charleston, SC 29418 Charleston
                                                    County
                                                    Rental Property. In addition to the
                                                    first mortgage, property is also
                                                    collateral for a mortgage note,
                                                    which includes a mortgage on 4720
         Attn: Bankruptcy                           Bayfield Drive and 2150 Eleanor
         Department                                 Drive
                                                    As of the date you file, the claim is: Check all that
         8480 Stagecoach Circle                     apply.
         Frederick, MD 21701                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
 Date debt was incurred          08/01                       Last 4 digits of account number         2042


 2.1     Wells Fargo Home
 4       Mortgage                                   Describe the property that secures the claim:                   $27,566.00          $58,000.00              $0.00




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 6 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
              Case 18-04002-dd                       Doc 17              Filed 08/20/18 Entered 08/20/18 16:58:38                                Desc Main
                                                                        Document      Page 25 of 99
 Debtor 1 George Louis Schweers                                                                               Case number (if know)   18-04002
               First Name                  Middle Name                      Last Name
 Debtor 2 Carroll Cox Schweers
               First Name                  Middle Name                      Last Name


         Creditor's Name                            4734 Whitwill Blvd. North
                                                    Charleston, SC 29418 Charleston
                                                    County
                                                    Rental Property. In addition to the
                                                    first mortgage, property is also
                                                    collateral for a mortgage note,
                                                    which includes a mortgage on 4735
         Attn: Bankruptcy                           Linfield Lane and 4717 Linfield
         Department                                 Lane.
                                                    As of the date you file, the claim is: Check all that
         8480 Stagecoach Circle                     apply.
         Frederick, MD 21701                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
 Date debt was incurred          05/02                       Last 4 digits of account number         4350


 2.1     Wells Fargo Home
 5       Mortgage                                   Describe the property that secures the claim:                   $26,999.00          $58,000.00              $0.00
         Creditor's Name                            4717 Linfield Lane North
                                                    Charleston, SC 29418 Charleston
                                                    County
                                                    Rental Property. In addition to the
                                                    first mortgage, property is also
                                                    collateral for a mortgage note,
                                                    which includes a mortgage on 4734
         Attn: Bankruptcy                           Whitwill Blvd. and 4735 Linfield
         Department                                 Lane.
                                                    As of the date you file, the claim is: Check all that
         8480 Stagecoach Circle                     apply.
         Frederick, MD 21701                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
 Date debt was incurred          08/01                       Last 4 digits of account number         2043


 2.1     Wells Fargo Home
 6       Mortgage                                   Describe the property that secures the claim:                   $24,652.00          $41,300.00              $0.00




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 7 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
              Case 18-04002-dd                       Doc 17              Filed 08/20/18 Entered 08/20/18 16:58:38                                Desc Main
                                                                        Document      Page 26 of 99
 Debtor 1 George Louis Schweers                                                                               Case number (if know)   18-04002
               First Name                  Middle Name                      Last Name
 Debtor 2 Carroll Cox Schweers
               First Name                  Middle Name                      Last Name


         Creditor's Name                            2150 Eleanor Drive North
                                                    Charleston, SC 29405 Charleston
                                                    County
                                                    Rental Property. In addition to the
                                                    first mortgage, property is also
                                                    collateral for a mortgage note,
                                                    which includes a mortgage on 4734
         Attn: Bankruptcy                           Whitwill Blvd. and 4720 Bayfield
         Department                                 Drive
                                                    As of the date you file, the claim is: Check all that
         8480 Stagecoach Circle                     apply.
         Frederick, MD 21701                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
 Date debt was incurred          11/00                       Last 4 digits of account number         0883


 2.1     Wells Fargo Home
 7       Mortgage                                   Describe the property that secures the claim:                   $16,701.00          $58,000.00              $0.00
         Creditor's Name                            4720 Bayfield Drive North
                                                    Charleston, SC 29418 Charleston
                                                    County
                                                    Rental Property. In addition to the
                                                    first mortgage, property is also
                                                    collateral for a mortgage note,
                                                    which includes a mortgage on 4730
         Attn: Bankruptcy                           Whitwill Blvd. and 2150 Eleanor
         Department                                 Drive
                                                    As of the date you file, the claim is: Check all that
         8480 Stagecoach Circle                     apply.
         Frederick, MD 21701                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
 Date debt was incurred          05/99                       Last 4 digits of account number         6832


 2.1     Wells Fargo Home
 8       Mortgage                                   Describe the property that secures the claim:                   $16,677.00          $58,000.00              $0.00




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 8 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
              Case 18-04002-dd                       Doc 17              Filed 08/20/18 Entered 08/20/18 16:58:38                                Desc Main
                                                                        Document      Page 27 of 99
 Debtor 1 George Louis Schweers                                                                               Case number (if know)   18-04002
               First Name                  Middle Name                      Last Name
 Debtor 2 Carroll Cox Schweers
               First Name                  Middle Name                      Last Name


         Creditor's Name                            4735 Linfield Lane North
                                                    Charleston, SC 29418 Charleston
                                                    County
                                                    Rental Property. In addition to the
                                                    first mortgage, property is also
                                                    collateral for a mortgage note,
                                                    which includes a mortgage on 4734
         Attn: Bankruptcy                           Whitwill Blvd. and 4717 Linfield
         Department                                 Lane.
                                                    As of the date you file, the claim is: Check all that
         8480 Stagecoach Circle                     apply.
         Frederick, MD 21701                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
 Date debt was incurred          05/99                       Last 4 digits of account number         3362


 2.1
 9       William Hall                               Describe the property that secures the claim:                   $64,000.00           $58,000.00      $64,000.00
         Creditor's Name                            4730 Whitwil Blvd., 4720 Bayfield
                                                    Drive, 2150 Eleanor Drive - Business
                                                    Debt
                                                    Rental Property
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 40413                             apply.
         Charleston, SC 29423                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
 Date debt was incurred          11/14                       Last 4 digits of account number




   Add the dollar value of your entries in Column A on this page. Write that number here:                                $1,056,279.37
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                               $1,056,279.37

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 9 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                             Desc Main
                                                                     Document      Page 28 of 99
 Debtor 1 George Louis Schweers                                                             Case number (if know)          18-04002
              First Name                Middle Name                     Last Name
 Debtor 2 Carroll Cox Schweers
              First Name                Middle Name                     Last Name



        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.1
        Bank of America
        4909 Savarese Circle                                                         Last 4 digits of account number
        Tampa, FL 33634

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.2
        Bank of America
        4909 Savarese Circle                                                         Last 4 digits of account number
        Tampa, FL 33634

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.16
        Brock & Scott, P.L.L.C.
        3800 Fernandina Road                                                         Last 4 digits of account number
        Suite 110
        Columbia, SC 29210

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.19
        Brush Law Firm
        12-A Carriage Lane                                                           Last 4 digits of account number
        P.O. Box 31459
        Charleston, SC 29417

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.9
        Brush Law Firm
        12-A Carriage Lane                                                           Last 4 digits of account number
        P.O. Box 31459
        Charleston, SC 29417

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.10
        Brush Law Firm
        12A Carriage Lane                                                            Last 4 digits of account number
        Charleston, SC 29407

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.13
        Charleston County Court of Common Pleas
        100 Broad Street, Suite 106                                                  Last 4 digits of account number
        Charleston, SC 29401

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.16
        Charleston County Court of Common Pleas
        100 Broad Street, Suite 106                                                  Last 4 digits of account number
        Charleston, SC 29401

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.19
        Charleston County Court of Common Pleas
        100 Broad Street, Suite 106                                                  Last 4 digits of account number
        Charleston, SC 29401

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.5
        Charleston County Court of Common Pleas
        100 Broad Street, Suite 106                                                  Last 4 digits of account number
        Charleston, SC 29401




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 10 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                             Desc Main
                                                                     Document      Page 29 of 99
 Debtor 1 George Louis Schweers                                                             Case number (if know)          18-04002
              First Name                Middle Name                     Last Name
 Debtor 2 Carroll Cox Schweers
              First Name                Middle Name                     Last Name



        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.3
        Charleston County Court of Common Pleas
        100 Broad Street, Suite 106                                                  Last 4 digits of account number
        Charleston, SC 29401

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.4
        Charleston County Court of Common Pleas
        100 Broad Street, Suite 106                                                  Last 4 digits of account number
        Charleston, SC 29401

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.5
        John J. Dodds, III
        858 Lowcountry Blvd, Suite 101                                               Last 4 digits of account number
        Mount Pleasant, SC 29464

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.13
        Roger, Townsend & Thomas, PC
        P.O. Box 100200                                                              Last 4 digits of account number
        Columbia, SC 29202

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.13
        Wells Fargo Home Morgage
        P.O. Box 10335                                                               Last 4 digits of account number
        Des Moines, IA 50306




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 11 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
               Case 18-04002-dd                     Doc 17             Filed 08/20/18 Entered 08/20/18 16:58:38                                          Desc Main
                                                                      Document      Page 30 of 99
 Fill in this information to identify your case:

 Debtor 1                     George Louis Schweers
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Carroll Cox Schweers
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF SOUTH CAROLINA

 Case number           18-04002
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          Internal Revenue Service                               Last 4 digits of account number                          $5,734.46             $5,734.46                  $0.00
              Priority Creditor's Name
              P.O. Box 7346                                          When was the debt incurred?           Opened 2017
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        2016 business tax liability: $5734.46

 2.2          SC Department of Revenue                               Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              Corporate Income Tax Payment                           When was the debt incurred?
              Columbia, SC 29214-0007
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Business Debt - Notice Only.

Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                              41087                                             Best Case Bankruptcy
              Case 18-04002-dd                      Doc 17             Filed 08/20/18 Entered 08/20/18 16:58:38                                           Desc Main
                                                                      Document      Page 31 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                               Case number (if know)           18-04002

 2.3        South Carolina                                           Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            Department of Revenue                                    When was the debt incurred?
            301 Gervais Street
            P.O. Box 125
            Columbia, SC 29214
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            For Notice

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Appsprings Coffee                                          Last 4 digits of account number                                                                          $0.00
            Nonpriority Creditor's Name
            P.O. Box 40192                                             When was the debt incurred?
            Charleston, SC 29423-0192
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify    Business Debt - Notice Only.




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 32 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.2      Bank of America                                            Last 4 digits of account number       3818                                            $27,498.00
          Nonpriority Creditor's Name
          4909 Savarese Circle                                       When was the debt incurred?           Opened 04/89
          Fl1-908-01-50
          Tampa, FL 33634
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card - 80% Business Debt


 4.3      Bank Of America                                            Last 4 digits of account number       8703                                            $23,737.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 08/87
          P.O. Box 982238
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card - 80% Business Debt


 4.4      Bank Of America                                            Last 4 digits of account number       2110                                            $23,438.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 02/03
          P.O. Box 982238
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 33 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.5      BFS Capital                                                Last 4 digits of account number       3388                                           $154,095.00
          Nonpriority Creditor's Name
          3301 N. University Drive, Suite 300                        When was the debt incurred?           Opened 04/15
          Coral Springs, FL 33065
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan - Business Debt


          Builders Mutual Insurance
 4.6      Company                                                    Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          5580 Centerview Drive                                      When was the debt incurred?
          Raleigh, NC 27606
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.7      Canon Financial Services                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          14904 Collections Center Drive                             When was the debt incurred?
          Chicago, IL 60693
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 34 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.8      Capital One                                                Last 4 digits of account number       7264                                              $3,895.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 02/04
          P.O. Box 30285
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card - Business Debt


 4.9      CC Dickson Co.                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 13501                                             When was the debt incurred?
          Rock Hill, SC 29731-3501
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.1
 0        Charleston County Treasurer                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 878                                               When was the debt incurred?
          Charleston, SC 29402
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 35 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.1
 1        Cintas                                                     Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          9540 Hanburg Road                                          When was the debt incurred?
          Ladson, SC 29456
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.1
 2        Citibank - Exxon Mobile                                    Last 4 digits of account number       8600                                              $1,076.00
          Nonpriority Creditor's Name
          Centralized Bankruptcy                                     When was the debt incurred?           Opened 06/93
          P.O. Box 790034
          St Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 3        Comcast Spotlight                                          Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 100495                                            When was the debt incurred?
          Atlanta, GA 30384-0495
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 6 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 36 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.1
 4        Comenity Awards Business Credit                            Last 4 digits of account number       0141                                              $5,155.48
          Nonpriority Creditor's Name
          P.O. Box 659445                                            When was the debt incurred?           Opened 02/13
          San Antonio, TX 78265-9445
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan - Business Debt


 4.1
 5        Credit First National Associates                           Last 4 digits of account number       7904                                              $1,605.00
          Nonpriority Creditor's Name
          Attn: BK Credit Operations                                 When was the debt incurred?           Opened 12/00
          P.O. Box 81315
          Cleveland, OH 44181
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Representing: Firestone Complete Auto
              Yes                                                       Other. Specify   Care

 4.1
 6        CRF Solutions                                              Last 4 digits of account number       9591                                              $2,379.00
          Nonpriority Creditor's Name
          2051 Royal Avenue                                          When was the debt incurred?           Opened 01/18
          Simi Valley, CA 93065
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Representing: United Refrigeration Inc. -
              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 7 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 37 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.1
 7        Delta Industrial Electric Co.                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2528 Spruill Avenue                                        When was the debt incurred?
          North Charleston, SC 29405
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.1
 8        Docusystems                                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 1271                                              When was the debt incurred?
          Myrtle Beach, SC 29578
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.1
 9        Epting Distributors, Inc.                                  Last 4 digits of account number       1416                                                    $0.00
          Nonpriority Creditor's Name
          300 Industrial Drive                                       When was the debt incurred?           Opened 11/13
          Lexington, SC 29072
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 8 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 38 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.2
 0        Equifax                                                    Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 740241                                            When was the debt incurred?
          Atlanta, GA 30374-0241
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   For Notice


 4.2
 1        Experian                                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          475 Anton Boulevard                                        When was the debt incurred?
          Costa Mesa, CA 92626
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   For Notice


 4.2      Federate Mutual Insurance
 2        Company                                                    Last 4 digits of account number       0813                                                    $0.00
          Nonpriority Creditor's Name
          c/o Anthony D. Hoefer                                      When was the debt incurred?           Opened 02/14
          P.O. Box 730
          Sumter, SC 29151
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 9 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 39 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.2
 3        First Citizen's Bank and Trust                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1230 Main Street                                           When was the debt incurred?
          Columbia, SC 29201
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.2      First Citizens Bank & Trust
 4        Company                                                    Last 4 digits of account number       9098                                                $904.41
          Nonpriority Creditor's Name
          DAC-36                                                     When was the debt incurred?           Opened
          P.O. Box 25187
          Raleigh, NC 27611-5187
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card - Business Debt


 4.2
 5        FSI Office                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 563953                                            When was the debt incurred?
          Charlotte, NC 28256
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 10 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 40 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.2
 6        Fuel Express South                                         Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 19017                                             When was the debt incurred?
          Houston, TX 77224-9017
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.2      GeoDigital Broadcasting Network,
 7        LLC                                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2871 Harvard Road                                          When was the debt incurred?
          Charleston, SC 29414
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.2
 8        Grainger                                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          Dept 876829797                                             When was the debt incurred?
          Palatine, IL 60038-6000
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 11 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 41 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.2
 9        Hoffman Hoffman, Inc.                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 896000                                            When was the debt incurred?
          Charlotte, NC 28289-6000
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.3
 0        Island Publications                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          134 Columbus Street                                        When was the debt incurred?
          Charleston, SC 29403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.3
 1        Jasmine Brown                                              Last 4 digits of account number       0973                                              Unknown
          Nonpriority Creditor's Name
          2150 Eleanor Drive, Apt. B                                 When was the debt incurred?           Opened 05/18
          Charleston, SC 29406
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 12 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 42 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.3
 2        Johnstone Supply Inc.                                      Last 4 digits of account number       0499                                                    $0.00
          Nonpriority Creditor's Name
          c/o Edward Grimsley                                        When was the debt incurred?           Opened 01/14
          P.O. Box 11682
          Columbia, SC 29211
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only


 4.3
 3        Krya Morris                                                Last 4 digits of account number                                                       $24,000.00
          Nonpriority Creditor's Name
          107 Pitt Street                                            When was the debt incurred?           Opened 12/13
          Mount Pleasant, SC 29464
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan - Business Debt


 4.3
 4        Lennox Industries, Inc.                                    Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 910549                                            When was the debt incurred?
          Dallas, TX 75391-0549
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 13 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 43 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.3
 5        Linden Construction Company                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          100 Brigade Street, Suite 100                              When was the debt incurred?
          Charleston, SC 29402
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only


 4.3
 6        Lowcountry Loads LLC                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          102 Jackson Street                                         When was the debt incurred?
          Summerville, SC 29483
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.3
 7        Lucas Auto Repair & Tire Center                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          3816 Dorchester Road                                       When was the debt incurred?
          North Charleston, SC 29405
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 14 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 44 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.3
 8        McCall's Inc.                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          4575 Rivers Avenue                                         When was the debt incurred?
          North Charleston, SC 29405
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.3
 9        McCarthy, Burgess & Wolff                                  Last 4 digits of account number       5367                                                $258.35
          Nonpriority Creditor's Name
          26000 Cannon Road                                          When was the debt incurred?           Opened
          Cleveland, OH 44146
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Representing: Comcast Cable - Business
              Yes                                                       Other. Specify   Debt

 4.4
 0        McCarthy, Burgess & Wolff                                  Last 4 digits of account number       3861                                              $2,436.54
          Nonpriority Creditor's Name
          The MB&W Building                                          When was the debt incurred?           Opened 06/18
          26000 Cannon Road
          Cleveland, OH 44146
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Representing: Angie's List




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 15 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 45 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.4
 1        Nason Medical Center                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 50339                                             When was the debt incurred?
          Summerville, SC 29485
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.4
 2        Ott Distributors                                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1024 Aragon Street                                         When was the debt incurred?
          North Charleston, SC 29405
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.4
 3        Pinnacle                                                   Last 4 digits of account number       5700                                            $96,746.12
          Nonpriority Creditor's Name
          150 3rd Avenue South                                       When was the debt incurred?           Opened 09/10
          Nashville, TN 37201
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan - Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 16 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 46 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.4
 4        Pinnacle Bank                                              Last 4 digits of account number       0153                                                $372.00
          Nonpriority Creditor's Name
          114 W College Street                                       When was the debt incurred?           Opened 12/17
          Murfreesboro, TN 37130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.4
 5        Pitney Bowes                                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 371874                                            When was the debt incurred?
          Pittsburgh, PA 15250-7874
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.4
 6        Ralph Cox                                                  Last 4 digits of account number                                                       $69,000.00
          Nonpriority Creditor's Name
          30 Aldridge Drive                                          When was the debt incurred?           Opened 01/14
          Greenville, SC 29607
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan - Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 17 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 47 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.4
 7        Ralph Cox                                                  Last 4 digits of account number                                                       $21,666.00
          Nonpriority Creditor's Name
          30 Aldridge Drive                                          When was the debt incurred?           Opened 10/15
          Greenville, SC 29607
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan - Business Debt


 4.4      Richard T. Avis Attorney and Asso,
 8        LLC                                                        Last 4 digits of account number       9421                                                $992.23
          Nonpriority Creditor's Name
          P.O. Box 31579                                             When was the debt incurred?           Opened 2016
          Chicago, IL 60631
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Representing: W.W. Grainger Inc. -
              Yes                                                       Other. Specify   Business Debt

 4.4
 9        Richmond North                                             Last 4 digits of account number       0090                                                $444.01
          Nonpriority Creditor's Name
          4955 North Bailey Avenue, Suite                            When was the debt incurred?           Opened 2016
          109
          Buffalo, NY 14226-1206
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Representing: Pitney Bowes - Business
              Yes                                                       Other. Specify   Debt.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 18 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 48 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.5
 0        Roper St. Francis                                          Last 4 digits of account number       XE2g                                              $3,664.47
          Nonpriority Creditor's Name
          P.O. Box 650292                                            When was the debt incurred?           Opened
          Dallas, TX 75265-0292
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.5
 1        Ruby Schweers                                              Last 4 digits of account number                                                       $48,197.00
          Nonpriority Creditor's Name
          317 Middle Street                                          When was the debt incurred?           Opened 03/11
          Mount Pleasant, SC 29464
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan - Business Debt


 4.5
 2        Ruby Schweers                                              Last 4 digits of account number                                                      $127,561.00
          Nonpriority Creditor's Name
          317 Middle Street                                          When was the debt incurred?           Opened 10/12
          Mount Pleasant, SC 29464
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan - Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 19 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 49 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.5
 3        Shell - Citi                                               Last 4 digits of account number       4038                                              $9,967.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                When was the debt incurred?           Opened 08/04
          701 60th Street North
          Sioux Falls, SD 57104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card - Business Debt


 4.5      Superior Plus Constructions
 4        Products                                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 904079                                            When was the debt incurred?
          Charlotte, NC 28290-4079
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.5
 5        Synchrony Bank - Care Credit                               Last 4 digits of account number       3775                                              $1,358.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                      When was the debt incurred?           Opened 04/11
          P.O. Box 965061
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 20 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 50 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.5
 6        The Bank of South Carolina                                 Last 4 digits of account number       0316                                            $12,510.00
          Nonpriority Creditor's Name
          P.O. Box 538                                               When was the debt incurred?           Opened 3/15/16
          North Charleston, SC 29405
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan


 4.5
 7        The Bank of South Carolina                                 Last 4 digits of account number       4879                                           $197,238.14
          Nonpriority Creditor's Name
          P.O. Box 538                                               When was the debt incurred?           Opened 01/16
          Charleston, SC 29402
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan - Business Debt


 4.5
 8        The Bank of South Carolina                                 Last 4 digits of account number       4860                                           $159,924.50
          Nonpriority Creditor's Name
          P.O. Box 538                                               When was the debt incurred?           Opened 01/16
          Charleston, SC 29402
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan - Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 21 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 51 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.5
 9        The Bank of South Carolina                                 Last 4 digits of account number       8343                                            $31,250.03
          Nonpriority Creditor's Name
          P.O. Box 538                                               When was the debt incurred?           Opened 01/17
          Charleston, SC 29402
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan - Business Debt


 4.6
 0        Thermal Resource Sales, Inc.                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 667                                               When was the debt incurred?
          Kernersville, NC 27285
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.6
 1        TNB-Visa (TV) - Target                                     Last 4 digits of account number       2322                                              $6,200.00
          Nonpriority Creditor's Name
          Financial & Retail Services                                When was the debt incurred?           Opened 11/06
          Mailstop BV, P.O. Box 9475
          Minneapolis, MN 55440
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 22 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 52 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.6
 2        Total Traffic & Weather Network                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          62301 Collections Center Drive                             When was the debt incurred?
          Chicago, IL 60693-0623
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.6
 3        Trane Comfort Solutions, Inc.                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 406469                                            When was the debt incurred?
          Atlanta, GA 30384-6469
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.6
 4        TransUnion                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2 Baldwin Place                                            When was the debt incurred?
          P.O. Box 1000
          Chester, PA 19022-2001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   For Notice




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 23 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 53 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.6
 5        United Refrigeration Inc.                                  Last 4 digits of account number       6318                                              $4,378.61
          Nonpriority Creditor's Name
          c/o Clarkson and Hale, LLC                                 When was the debt incurred?           Opened 2016
          P.O. Box 287
          Columbia, SC 29202
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods and services - Business Debt


 4.6
 6        Verizon                                                    Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 660108                                            When was the debt incurred?
          Dallas, TX 75266-0108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.


 4.6
 7        Wells Fargo Bank                                           Last 4 digits of account number       5283                                            $11,563.00
          Nonpriority Creditor's Name
          c/o Brock & Scott, PLLC                                    When was the debt incurred?           Opened 06/07
          1315 Westbrook Plaza Drive
          Winston Salem, NC 27103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 24 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                                     Document      Page 54 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)         18-04002

 4.6
 8        Wells Fargo Bank                                           Last 4 digits of account number       1404                                              $6,638.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                      When was the debt incurred?           Opened 03/89
          P.O. Box 6429
          Greenville, SC 29606
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Line Of Credit


 4.6
 9        Wells Fargo Bank                                           Last 4 digits of account number       2745                                              $6,331.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                      When was the debt incurred?           Opened 01/93
          P.O. Box 6429
          Greenville, SC 29606
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Line Of Credit


 4.7
 0        Wells Fargo Bank                                           Last 4 digits of account number       0581                                              $1,829.00
          Nonpriority Creditor's Name
          P.O. Box 77053                                             When was the debt incurred?           Opened
          Minneapolis, MN 55480-7753
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Line of Credit




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 25 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                        Desc Main
                                                                     Document      Page 55 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)          18-04002

 4.7
 1         Williams Tire                                             Last 4 digits of account number       RP01                                                       $711.38
           Nonpriority Creditor's Name
           3995 Dorchester Road                                      When was the debt incurred?           Opened 11/17
           North Charleston, SC 29405
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods and Services - Business Debt


 4.7
 2         Williams Tire                                             Last 4 digits of account number                                                                      $0.00
           Nonpriority Creditor's Name
           3995 Dorchester Road                                      When was the debt incurred?
           North Charleston, SC 29405
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Notice Only.

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America                                               Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 982238                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank Of America                                               Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Po Box 982238                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 15000 Capital One Dr                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, VA 23238
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Charleston County Court of                                    Line 4.67 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Common Pleas                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 26 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                        Desc Main
                                                                     Document      Page 56 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                              Case number (if know)        18-04002

 100 Broad Street, Suite 106
 Charleston, SC 29401
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Charleston County Court of                                    Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Common Pleas                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 100 Broad Street, Suite 106
 Charleston, SC 29401
                                                               Last 4 digits of account number                    2758

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Charleston County Court of                                    Line 4.58 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Common Pleas                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 100 Broad Street, Suite 106
 Charleston, SC 29401
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Charleston County Court of                                    Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Common Pleas                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 100 Broad Street, Suite 106
 Charleston, SC 29401
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Charleston County Magistrate's                                Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Court                                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 995 Morrison
 Charleston, SC 29403
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 City of Chalreston - Small Claims                             Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 180 Lockwood Drive                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Charleston, SC 29403
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Client Services                                               Line 4.55 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3451 Harry Truman Boulevard                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Charles, MO 63301
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 D & A Services                                                Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1400 E. Touhy Avenue, Suite G2                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Des Plaines, IL 60018
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 D & A Services                                                Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1400 E. Touhy Avenue, Suite G2                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Des Plaines, IL 60018
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GC Services Limited Partnership                               Line 4.53 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 3855                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77253
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Gregory Preston Cowan                                         Line 4.67 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1315 Westbrook Plaza Drive                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Winston Salem, NC 27103
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 27 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                        Desc Main
                                                                     Document      Page 57 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)          18-04002

 Larry D. Cohen                                                Line 4.57 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 30547                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Charleston, SC 29417
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Larry D. Cohen                                                Line 4.58 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 30547                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Charleston, SC 29417
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 McCarthy, Burgess & Wolff                                     Line 4.66 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 The MB&W Building                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 26000 Cannon Road
 Cleveland, OH 44146
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Patenaude & Felix, APC                                        Line 4.61 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4545 Murphy Canyon Road                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 3rd Floor
 San Diego, CA 92123
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pioneer Credit Recovery, Inc.                                 Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 500                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Horseheads, NY 14845
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sherloq Financial                                             Line 4.50 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 2842                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Tampa, FL 33601
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Suzanne Campbell Chisholm                                     Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 684                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Mount Pleasant, SC 29465
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 TNB-Visa (TV) / Target                                        Line 4.61 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 673                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Minneapolis, MN 55440
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 U.S. Attorney for South Carolina                              Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1441 Main Street                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 500
 Columbia, SC 29201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 United States of America                                      Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Office of the Attorney General                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Tenth Street at Constitution Avenue
 Washington, DC 20530
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo Bank                                              Line 4.67 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 14517                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Des Moines, IA 50306
                                                               Last 4 digits of account number


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 28 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                        Desc Main
                                                                     Document      Page 58 of 99
 Debtor 1 George Louis Schweers
 Debtor 2 Carroll Cox Schweers                                                                            Case number (if know)          18-04002

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo Bank                                              Line 4.68 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 94435                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Albuquerque, NM 87199
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo Bank                                              Line 4.69 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 94435                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Albuquerque, NM 87199
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                     5,734.46
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                     5,734.46

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                1,089,019.27

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                1,089,019.27




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 29 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                Case 18-04002-dd                     Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                         Desc Main
                                                                      Document      Page 59 of 99
 Fill in this information to identify your case:

 Debtor 1                  George Louis Schweers
                           First Name                         Middle Name            Last Name

 Debtor 2                  Carroll Cox Schweers
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               DISTRICT OF SOUTH CAROLINA

 Case number           18-04002
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Courtney Jones                                                             Residential Lease.
               2150 Eleanor Drive
               North Charleston, SC 29418

     2.2       David & Stacey Reid                                                        Residential Lease.
               4720 Bayfield Drive
               North Charleston, SC 29418

     2.3       Erica Smith                                                                Residential Lease.
               4735 Linfield Lane
               North Charleston, SC 29418

     2.4       Joseph Gilliard                                                            Residential Lease.
               2150 Eleanor Drive
               North Charleston, SC 29418

     2.5       Lexus Financial Services                                                   Acct# 40772KN460
               Lexus Financial Services                                                   Opened Opened 03/16
               P.O. Box 8026                                                              Agreement
               Cedar Rapids, IA 52409                                                     2016 Lexus RX-350 24,000 miles
                                                                                          VIN # 2T2ZZMCAXGCO14364

     2.6       Shalon Williams                                                            Residential Lease.
               4734 Whitfwill Blvd.
               North Charleston, SC 29418

     2.7       Tonvet Bryant                                                              Residential Lease.
               4730 Whitwill Blvd.
               North Charleston, SC 29418




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                   Desc Main
                                                                     Document      Page 60 of 99
 Debtor 1       George Louis Schweers
 Debtor 2       Carroll Cox Schweers                                                         Case number (if known)   18-04002



            Additional Page if You Have More Contracts or Leases

         Person or company with whom you have the contract or lease                State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

   2.8      Yashece Smith                                                            Residential Lease.
            4717 Linfield Lane
            North Charleston, SC 29418




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
               Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38              Desc Main
                                                                        Document      Page 61 of 99
 Fill in this information to identify your case:

 Debtor 1                   George Louis Schweers
                            First Name                           Middle Name         Last Name

 Debtor 2                   Carroll Cox Schweers
 (Spouse if, filing)        First Name                           Middle Name         Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF SOUTH CAROLINA

 Case number           18-04002
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:


    3.1         Air Plus, LLC                                                                           Schedule D, line
                908 Cavalry Circle                                                                      Schedule E/F, line  4.24
                Mount Pleasant, SC 29464
                                                                                                        Schedule G
                                                                                                     First Citizens Bank & Trust Company



    3.2         Air Plus, LLC                                                                          Schedule D, line
                908 Cavalry Circle                                                                     Schedule E/F, line    4.16
                Mount Pleasant, SC 29464
                                                                                                       Schedule G
                                                                                                     CRF Solutions



    3.3         Air Plus, LLC                                                                          Schedule D, line
                908 Cavalry Circle                                                                     Schedule E/F, line 4.57
                Mount Pleasant, SC 29464
                                                                                                       Schedule G
                                                                                                     The Bank of South Carolina




Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                   Desc Main
                                                                     Document      Page 62 of 99
              George Louis Schweers
 Debtor 1 Carroll Cox Schweers                                                               Case number (if known)   18-04002


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.4      Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.46
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Ralph Cox



    3.5      Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.47
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Ralph Cox



    3.6      Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.51
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Ruby Schweers



    3.7      Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.52
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Ruby Schweers



    3.8      Air Plus, LLC                                                                          Schedule D, line   2.6
             908 Cavalry Circle                                                                     Schedule E/F, line
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Small Business Administration



    3.9      Air Plus, LLC                                                                           Schedule D, line
             908 Cavalry Circle                                                                      Schedule E/F, line     4.43
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Pinnacle



    3.10     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line 4.58
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  The Bank of South Carolina



    3.11     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line 4.59
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  The Bank of South Carolina




Official Form 106H                                                            Schedule H: Your Codebtors                                  Page 2 of 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                   Desc Main
                                                                     Document      Page 63 of 99
              George Louis Schweers
 Debtor 1 Carroll Cox Schweers                                                               Case number (if known)   18-04002


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.12     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.33
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Krya Morris



    3.13     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line 4.14
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Comenity Awards Business Credit



    3.14     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.5
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  BFS Capital



    3.15     Air Plus, LLC                                                                          Schedule D, line    2.3
             908 Cavalry Circle                                                                     Schedule E/F, line
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Carrier Enterprise, LLC



    3.16     Air Plus, LLC                                                                          Schedule D, line   2.4
             908 Cavalry Circle                                                                     Schedule E/F, line
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Ferguson Receivables, LLC



    3.17     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line 4.39
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  McCarthy, Burgess & Wolff



    3.18     Air Plus, LLC                                                                           Schedule D, line
             908 Cavalry Circle                                                                      Schedule E/F, line 2.1
             Mount Pleasant, SC 29464
                                                                                                     Schedule G
                                                                                                  Internal Revenue Service



    3.19     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line  4.32
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Johnstone Supply Inc.




Official Form 106H                                                            Schedule H: Your Codebtors                                  Page 3 of 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                   Desc Main
                                                                     Document      Page 64 of 99
              George Louis Schweers
 Debtor 1 Carroll Cox Schweers                                                               Case number (if known)   18-04002


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.20     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.71
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Williams Tire



    3.21     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line   4.48
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Richard T. Avis Attorney and Asso, LLC



    3.22     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.49
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Richmond North



    3.23     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line   4.65
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  United Refrigeration Inc.



    3.24     Air Plus, LLC                                                                           Schedule D, line
             908 Cavalry Circle                                                                      Schedule E/F, line 4.35
             Mount Pleasant, SC 29464
                                                                                                     Schedule G
                                                                                                  Linden Construction Company



    3.25     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line  4.6
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Builders Mutual Insurance Company



    3.26     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line   4.62
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Total Traffic & Weather Network



    3.27     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line  4.37
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Lucas Auto Repair & Tire Center




Official Form 106H                                                            Schedule H: Your Codebtors                                  Page 4 of 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                   Desc Main
                                                                     Document      Page 65 of 99
              George Louis Schweers
 Debtor 1 Carroll Cox Schweers                                                               Case number (if known)   18-04002


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.28     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line  4.63
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Trane Comfort Solutions, Inc.



    3.29     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line 4.60
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Thermal Resource Sales, Inc.



    3.30     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.11
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Cintas



    3.31     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.38
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  McCall's Inc.



    3.32     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.42
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Ott Distributors



    3.33     Air Plus, LLC                                                                           Schedule D, line
             908 Cavalry Circle                                                                      Schedule E/F, line     4.30
             Mount Pleasant, SC 29464
                                                                                                     Schedule G
                                                                                                  Island Publications



    3.34     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line  4.29
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Hoffman Hoffman, Inc.



    3.35     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.28
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Grainger




Official Form 106H                                                            Schedule H: Your Codebtors                                  Page 5 of 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                   Desc Main
                                                                     Document      Page 66 of 99
              George Louis Schweers
 Debtor 1 Carroll Cox Schweers                                                               Case number (if known)   18-04002


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.36     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.66
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Verizon



    3.37     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line  4.7
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Canon Financial Services



    3.38     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.26
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Fuel Express South



    3.39     Air Plus, LLC                                                                           Schedule D, line
             908 Cavalry Circle                                                                      Schedule E/F, line     4.45
             Mount Pleasant, SC 29464
                                                                                                     Schedule G
                                                                                                  Pitney Bowes



    3.40     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line    4.34
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Lennox Industries, Inc.



    3.41     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.25
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  FSI Office



    3.42     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line  4.27
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  GeoDigital Broadcasting Network, LLC



    3.43     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line 4.10
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Charleston County Treasurer




Official Form 106H                                                            Schedule H: Your Codebtors                                  Page 6 of 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                   Desc Main
                                                                     Document      Page 67 of 99
              George Louis Schweers
 Debtor 1 Carroll Cox Schweers                                                               Case number (if known)   18-04002


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.44     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line     4.17
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Delta Industrial Electric Co.



    3.45     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line 2.2
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  SC Department of Revenue



    3.46     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line 4.36
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Lowcountry Loads LLC



    3.47     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line  4.54
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Superior Plus Constructions Products



    3.48     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.72
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Williams Tire



    3.49     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.18
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Docusystems



    3.50     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.1
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Appsprings Coffee



    3.51     Air Plus, LLC                                                                           Schedule D, line
             908 Cavalry Circle                                                                      Schedule E/F, line   4.23
             Mount Pleasant, SC 29464
                                                                                                     Schedule G
                                                                                                  First Citizen's Bank and Trust




Official Form 106H                                                            Schedule H: Your Codebtors                                  Page 7 of 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                   Desc Main
                                                                     Document      Page 68 of 99
              George Louis Schweers
 Debtor 1 Carroll Cox Schweers                                                               Case number (if known)   18-04002


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.52     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.13
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Comcast Spotlight



    3.53     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.9
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  CC Dickson Co.



    3.54     Air Plus, LLC                                                                          Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line 4.40
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  McCarthy, Burgess & Wolff



    3.55     GLS Engineering                                                                        Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.8
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Capital One



    3.56     Jayspen Properties                                                                     Schedule D, line
             908 Cavalry Circle                                                                     Schedule E/F, line      4.31
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  Jasmine Brown



    3.57     Robbie Fischer                                                                          Schedule D, line
             589 Flannery Place                                                                      Schedule E/F, line     4.43
             Mount Pleasant, SC 29466
                                                                                                    Schedule G
                                                                                                  Pinnacle



    3.58     Ruby Schweers                                                                          Schedule D, line
             317 Middle Street                                                                      Schedule E/F, line 4.57
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  The Bank of South Carolina



    3.59     Ruby Schweers                                                                          Schedule D, line
             317 Middle Street                                                                      Schedule E/F, line 4.58
             Mount Pleasant, SC 29464
                                                                                                    Schedule G
                                                                                                  The Bank of South Carolina




Official Form 106H                                                            Schedule H: Your Codebtors                                  Page 8 of 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
              Case 18-04002-dd                Doc 17       Filed 08/20/18 Entered 08/20/18 16:58:38                                  Desc Main
                                                          Document      Page 69 of 99


Fill in this information to identify your case:

Debtor 1                      George Louis Schweers

Debtor 2                      Carroll Cox Schweers
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF SOUTH CAROLINA

Case number               18-04002                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                 Not employed
       employers.
                                             Occupation            Sales/Engineer                               Executive Secretary - 1099
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       LIM-RIC Heating and Air                      Rotary Club of Charleston

       Occupation may include student        Employer's address
                                                                   942 Anchor Road                              P.O. Box 21029
       or homemaker, if it applies.
                                                                   Charleston, SC 29412                         Charleston, SC 29413

                                             How long employed there?         9 months                                   19 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $         6,999.98        $          2,489.28

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      6,999.98               $    2,489.28




Official Form 106I                                                      Schedule I: Your Income                                                    page 1
            Case 18-04002-dd              Doc 17        Filed 08/20/18 Entered 08/20/18 16:58:38                                 Desc Main
                                                       Document      Page 70 of 99

Debtor 1    George Louis Schweers
Debtor 2    Carroll Cox Schweers                                                                  Case number (if known)    18-04002


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      6,999.98       $         2,489.28

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $      1,964.78       $                0.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00       $                0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $          0.00       $                0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $          0.00       $                0.00
      5e.   Insurance                                                                      5e.        $          0.00       $                0.00
      5f.   Domestic support obligations                                                   5f.        $          0.00       $                0.00
      5g.   Union dues                                                                     5g.        $          0.00       $                0.00
      5h.   Other deductions. Specify:                                                     5h.+       $          0.00 +     $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,964.78       $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          5,035.20       $          2,489.28
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $      1,149.00       $                0.00
      8b. Interest and dividends                                                           8b.        $          0.00       $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
      8e. Social Security                                                                  8e.        $              0.00   $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.        $              0.00   $                0.00
      8g. Pension or retirement income                                                     8g.        $              0.00   $                0.00
                                               Rotary Club of Charleston
      8h.   Other monthly income. Specify:     (Breakfast Club)                            8h.+ $                    0.00 + $          1,083.33

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,149.00       $           1,083.33

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              6,184.20 + $       3,572.61 = $           9,756.81
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $          9,756.81
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: None.




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
Case 18-04002-dd        Doc 17        Filed 08/20/18 Entered 08/20/18 16:58:38   Desc Main
                                     Document      Page 71 of 99


Louis Schweers, P. E. projected income and expenses



Income:                        $3,200



Lab Fees:                      $400

Sampling Cassettes             $35

Advertising and Promotion      $400

Automotive Expenses            $200

Bank Service Charge            $4

Computer and Internet          $100

Credit Card Processing Fee     $44

Office Equipment               $50

Repairs & Maintenance          $65

Dues & Subscriptions           $236

Equipment                      $300

Service Charge                 $7

Telephone Expenses             $5

Inspection Supplies            $5

Chemicals                      $25

Miscellaneous                  $175

Expenses                       $2,051



Adjusted Gross                 $1,149
           Case 18-04002-dd                  Doc 17         Filed 08/20/18 Entered 08/20/18 16:58:38                                  Desc Main
                                                           Document      Page 72 of 99


Fill in this information to identify your case:

Debtor 1                 George Louis Schweers                                                             Check if this is:
                                                                                                               An amended filing
Debtor 2                 Carroll Cox Schweers                                                                  A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF SOUTH CAROLINA                                                 MM / DD / YYYY

Case number           18-04002
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             18                   Yes
                                                                                                                                             No
                                                                                   Son                                  20                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,490.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                            951.97




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
        Case 18-04002-dd                    Doc 17          Filed 08/20/18 Entered 08/20/18 16:58:38                                      Desc Main
                                                           Document      Page 73 of 99

Debtor 1     George Louis Schweers
Debtor 2     Carroll Cox Schweers                                                                      Case number (if known)      18-04002

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 550.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 540.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                950.00
8.    Childcare and children’s education costs                                                 8. $                                                100.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                260.00
10.   Personal care products and services                                                    10. $                                                  75.00
11.   Medical and dental expenses                                                            11. $                                                 491.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 650.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 150.00
14.   Charitable contributions and religious donations                                       14. $                                                  30.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  125.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  475.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Vehicle Tax                                                                   16. $                                                  91.00
      Specify: Estimated Self Employment Taxes                                                    $                                                750.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  699.74
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: SBA mortgage                                                    17c. $                                                  752.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Tax preparation                                                     21. +$                                                 50.00
      Miscellaneous                                                                               +$                                               150.00
      Veterinarian cost                                                                           +$                                                60.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       9,640.71
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       9,640.71
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               9,756.81
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              9,640.71

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 116.10

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Debtor 2 is currently scheduled for surgery. Estimated out-of-pocket medical expenses are to
                          be approximately $5,800.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
               Case 18-04002-dd                     Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                        Desc Main
                                                                     Document      Page 74 of 99




 Fill in this information to identify your case:

 Debtor 1                    George Louis Schweers
                             First Name                     Middle Name             Last Name

 Debtor 2                    Carroll Cox Schweers
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number              18-04002
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ George Louis Schweers                                                 X   /s/ Carroll Cox Schweers
              George Louis Schweers                                                     Carroll Cox Schweers
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       August 20, 2018                                                Date    August 20, 2018




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 18-04002-dd                     Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                               Desc Main
                                                                     Document      Page 75 of 99


 Fill in this information to identify your case:

 Debtor 1                  George Louis Schweers
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Carroll Cox Schweers
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number           18-04002
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $50,076.78           Wages, commissions,                 $24,817.00
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                               Desc Main
                                                                     Document      Page 76 of 99
 Debtor 1      George Louis Schweers
 Debtor 2      Carroll Cox Schweers                                                                        Case number (if known)   18-04002

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                              Wages, commissions,                       $42,050.00           Wages, commissions,               $42,867.36
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                       $77,100.00           Wages, commissions,               $28,612.00
 (January 1 to December 31, 2016 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Rental Income                                             $17,653.07
 the date you filed for bankruptcy:

 For last calendar year:                           Rental Income                                  $7,584.75
 (January 1 to December 31, 2017 )

 For the calendar year before that:                Rental Income                                 $-4,028.00
 (January 1 to December 31, 2016 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                             Desc Main
                                                                     Document      Page 77 of 99
 Debtor 1      George Louis Schweers
 Debtor 2      Carroll Cox Schweers                                                                        Case number (if known)   18-04002

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       The Bank of South Carolina vs. Air                       Foreclosure                 Charleston County Court of                 Pending
       Plus, LLC et al                                                                      Common Pleas                               On appeal
       2018CP102758                                                                         100 Broad Street, Suite 106
                                                                                                                                       Concluded
                                                                                            Charleston, SC 29401

       Jasmine Brown vs. Louis                                  Small Claims                Charleston County                          Pending
       Schweers dba Jayspen Properties ,                                                    Magistrate's Court                         On appeal
       defendant, et al                                                                     995 Morrison
                                                                                                                                       Concluded
       2018CV1011500973                                                                     Charleston, SC 29403

       The Bank of South Carolina vs. Air                       Foreclosure                 Charleston County Court of                 Pending
       Plus LLC                                                                             Common Pleas                               On appeal
       2018LP1000578                                                                        100 Broad Street, Suite 106
                                                                                                                                       Concluded
                                                                                            Charleston, SC 29401

       Lowcountry Private Lending LLC                           Foreclosure                 Charleston County Court of                 Pending
       vs. G. Louis Schweers                                                                Common Pleas                               On appeal
       2018CP1001176                                                                        100 Broad Street, Suite 106
                                                                                                                                       Concluded
                                                                                            Charleston, SC 29401

       Willam S. Hall vs. G. Louis                              Foreclosure                 Charleston County Court of                 Pending
       Schweers                                                                             Common Pleas                               On appeal
       2018CP1001764                                                                        100 Broad Street, Suite 106
                                                                                                                                       Concluded
                                                                                            Charleston, SC 29401

       Wells Fargo Bank N.A. vs. G. Louis                       Foreclosure                 Charleston County Court of                 Pending
       Schweers                                                                             Common Pleas                               On appeal
       2018CP1003614                                                                        100 Broad Street, Suite 106
                                                                                                                                       Concluded
                                                                                            Charleston, SC 29401




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                             Desc Main
                                                                     Document      Page 78 of 99
 Debtor 1      George Louis Schweers
 Debtor 2      Carroll Cox Schweers                                                                        Case number (if known)   18-04002

       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Wells Fargo Bank N.A. vs. G. Louis                       Foreclosure                 Charleston County Court of                 Pending
       Schweers , defendant, et al                                                          Common Pleas                               On appeal
       2018CP1003705                                                                        100 Broad Street, Suite 106
                                                                                                                                       Concluded
                                                                                            Charleston, SC 29401

       Lowcountry Private Lending LLC                           Foreclosure                 Charleston County Court of                 Pending
       vs. G. Louis Schweers                                                                Common Pleas                               On appeal
       2018LP1000101                                                                        100 Broad Street, Suite 106
                                                                                                                                       Concluded
                                                                                            Charleston, SC 29401

       Lowcountry Private Lending LLC                           Foreclosure                 Charleston County Court of                 Pending
       vs. G Louis Schweers                                                                 Common Pleas                               On appeal
       2018LP1000227                                                                        100 Broad Street, Suite 106
                                                                                                                                       Concluded
                                                                                            Charleston, SC 29401

       William S. Hall vs. G Louis                              Foreclosure                 Charleston County Court of                 Pending
       Schweers                                                                             Common Pleas                               On appeal
       2018LP1000348                                                                        100 Broad Street, Suite 106
                                                                                                                                       Concluded
                                                                                            Charleston, SC 29401

       Wells Fargo Bank N.A. vs. G. Louis                       Foreclosure                 Charleston County Court of                 Pending
       Schweers                                                                             Common Pleas                               On appeal
       2018LP1000766                                                                        100 Broad Street, Suite 106
                                                                                                                                       Concluded
                                                                                            Charleston, SC 29401

       William S. Hall vs. G Louis                              Foreclosure                 Charleston County Court of                 Pending
       Schweers                                                                             Common Pleas                               On appeal
       2018CP1001764                                                                        100 Broad Street, Suite 106
                                                                                                                                       Concluded
                                                                                            Charleston, SC 29401

       Wells Fargo Bank N.A. vs. George                         Collection                  Charleston County Court of                 Pending
       L Schweers                                                                           Common Pleas                               On appeal
       2018CP1002707                                                                        100 Broad Street, Suite 106
                                                                                                                                       Concluded
                                                                                            Charleston, SC 29401

       William S. Hall vs. G Louis                              Foreclosure                 Charleston County Court of                 Pending
       Schweers                                                                             Common Pleas                               On appeal
       2018LP1000348                                                                        100 Broad Street, Suite 106
                                                                                                                                       Concluded
                                                                                            Charleston, SC 29401

       Ferguson Receivables LLC                                 Collection                  Charleston County Court of                 Pending
       assignee of , plaintiff, et al vs. Air                                               Common Pleas                               On appeal
       Plus LLC , defendant, et al                                                          100 Broad Street, Suite 106
                                                                                                                                       Concluded
       2018CP1000787                                                                        Charleston, SC 29401

       Carrier Enterprise LLC vs. Air Plus                      Collection                  Charleston County Court of                 Pending
       LLC                                                                                  Common Pleas                               On appeal
       2018CP1002074                                                                        100 Broad Street, Suite 106
                                                                                                                                       Concluded
                                                                                            Charleston, SC 29401

       The Bank of South Carolina vs. Air                       Foreclosure                 Charleston County Court of                 Pending
       Plus LLC                                                                             Common Pleas                               On appeal
       2018CP1002758                                                                        100 Broad Street, Suite 106
                                                                                                                                       Concluded
                                                                                            Charleston, SC 29401




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                              Desc Main
                                                                     Document      Page 79 of 99
 Debtor 1      George Louis Schweers
 Debtor 2      Carroll Cox Schweers                                                                        Case number (if known)    18-04002

       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       The Bank of South Carolina vs. Air                       Foreclosure                 Charleston County Court of                  Pending
       Plus LLC                                                                             Common Pleas                                On appeal
       2018LP1000578                                                                        100 Broad Street, Suite 106
                                                                                                                                        Concluded
                                                                                            Charleston, SC 29401


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:
       Debtor's Son                                                   2017 Browning A-Bolt, 270.                              2017                           $400.00
       906 Cavalry Circle
       Mount Pleasant, SC 29464

       Person's relationship to you: son


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                               Desc Main
                                                                     Document      Page 80 of 99
 Debtor 1      George Louis Schweers
 Debtor 2      Carroll Cox Schweers                                                                        Case number (if known)    18-04002

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       DeMott Law Firm, P.A.                                          $7,500 attorney's fee plus $66 credit                   August 2018               $7,901.00
       103 Grandview Drive                                            report and $335 filing fee.
       Suite B
       Summerville, SC 29483
       russ@demottlawfirm.com
       Debtor 1's mother


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or        Date transfer was
       Address                                                        property transferred                      payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                             Desc Main
                                                                     Document      Page 81 of 99
 Debtor 1      George Louis Schweers
 Debtor 2      Carroll Cox Schweers                                                                        Case number (if known)    18-04002

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of            Type of account or          Date account was            Last balance
       Address (Number, Street, City, State and ZIP             account number              instrument                  closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred
       Pinnacle                                                 XXXX-1860                     Checking                                                       $0.00
       P.O. Box 130848                                                                        Savings
       Carlsbad, CA 92013
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Pinnacle                                                 XXXX-1673                     Checking                                                 Unknown
       P.O. Box 130848                                                                        Savings
       Carlsbad, CA 92013
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Wells Fargo                                              XXXX-0187                     Checking                  June 2018                            $0.00
       3979 29th Street, S.E.                                                                 Savings
       Grand Rapids, MI
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       BNC Bank                                                 XXXX-                         Checking                  April 2018                           $0.00
       329 Folly Road                                                                         Savings
       Charleston, SC 29412
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       BNC Bank                                                 XXXX-                         Checking                  April 2018                           $0.00
       329 Folly Road                                                                         Savings
       Charleston, SC 29412
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?           Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                            have it?
                                                                      State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                  Desc Main
                                                                     Document      Page 82 of 99
 Debtor 1      George Louis Schweers
 Debtor 2      Carroll Cox Schweers                                                                              Case number (if known)   18-04002

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                         have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                  Status of the
       Case Number                                                    Name                                                                           case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
             Case 18-04002-dd                        Doc 17           Filed 08/20/18 Entered 08/20/18 16:58:38                               Desc Main
                                                                     Document      Page 83 of 99
 Debtor 1      George Louis Schweers
 Debtor 2      Carroll Cox Schweers                                                                        Case number (if known)   18-04002


                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Air Plus, LLC                                           HVAC                                             EIN:         XX-XXXXXXX
        908 Cavalry Circle
        Mount Pleasant, SC 29464                                Jarrard, Nowell & Russell, III                   From-To      May 2003 to November 2017

        GLS Engineering                                         Engineering                                      EIN:
        908 Cavalry Circle
        Mount Pleasant, SC 29464                                Jarrard, Nowell & Russell, III                   From-To


        Charleston Pest & Lawn, LLC                             Pest control and lawn care                       EIN:         XX-XXXXXXX
                                                                                                                 From-To      2012 to 2014


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ George Louis Schweers                                               /s/ Carroll Cox Schweers
 George Louis Schweers                                                   Carroll Cox Schweers
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      August 20, 2018                                               Date     August 20, 2018

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 9
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
               Case 18-04002-dd                     Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38          Desc Main
                                                                     Document      Page 84 of 99

 Fill in this information to identify your case:

 Debtor 1                  George Louis Schweers
                           First Name                       Middle Name              Last Name

 Debtor 2                  Carroll Cox Schweers
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number            18-04002
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Bank of America                                      Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 908 Cavalry Circle Mount                                 Reaffirmation Agreement.
    property       Pleasant, SC 29464 Charleston                            Retain the property and [explain]:
    securing debt: County - 80% Business Debt                              Debtor will retain property and continue
                                                                          to make payments


    Creditor's         Bank of America                                      Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 908 Cavalry Circle Mount                                 Reaffirmation Agreement.
    property       Pleasant, SC 29464 Charleston                            Retain the property and [explain]:
    securing debt: County                                                  Debtor will retain property and continue
                                                                          to make payments


    Creditor's         Carrier Enterprise, LLC                              Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                       Desc Main
                                                                     Document      Page 85 of 99

 Debtor 1      George Louis Schweers
 Debtor 2      Carroll Cox Schweers                                                                   Case number (if known)   18-04002

    Description of All real property in Charleston                           Reaffirmation Agreement.
    property       County as noted on Schedule A.                           Retain the property and [explain]:
    securing debt: Business Debt.                                         avoid lien using 11 U.S.C. § 522(f)


    Creditor's     Ferguson Receivables, LLC                                Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of All real property in Charleston                          Reaffirmation Agreement.
    property       County as noted on Schedule A.                           Retain the property and [explain]:
    securing debt: Business Debt.                                         avoid lien using 11 U.S.C. § 522(f)


    Creditor's     Small Business Administration                            Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of 908 Cavalry Circle Mount                                 Reaffirmation Agreement.
    property       Pleasant, SC 29464 Charleston                            Retain the property and [explain]:
    securing debt: County - Businesss Debt                                 Debtor will retain property and continue
                                                                          to make payments


    Creditor's     The Bank of South Carolina                               Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      2001 Sea Hunt 22 Navigator                          Reaffirmation Agreement.
    property            with 200 HP Evinrude E-TEC                          Retain the property and [explain]:
    securing debt:      motor and open trailer. Serial #
                        5X5N0061H001.


    Creditor's     The Sandlapper Management                                Surrender the property.                                 No
    name:          Group, LLC                                               Retain the property and redeem it.
                                                                                                                                    Yes
                                                                            Retain the property and enter into a
    Description of      4717 Linfield Lane North                            Reaffirmation Agreement.
    property            Charleston, SC 29418                                Retain the property and [explain]:
    securing debt:      Charleston County
                        Rental Property. In addition to
                        the first mortgage, property is
                        also collateral for a mortgage
                        note, which includes a
                        mortgage on 4734 Whitwill
                        Blvd. and 4735 Linfield Lane.


    Creditor's     The Sandlapper Management                                Surrender the property.                                 No
    name:          Group, LLC                                               Retain the property and redeem it.
                                                                                                                                    Yes
                                                                            Retain the property and enter into a
    Description of      4720 Bayfield Drive North                           Reaffirmation Agreement.
                        Charleston, SC 29418
                        Charleston County
                        Rental Property. In addition to
                        the first mortgage, property is
                        also collateral for a mortgage

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                page 2

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                       Desc Main
                                                                     Document      Page 86 of 99

 Debtor 1      George Louis Schweers
 Debtor 2      Carroll Cox Schweers                                                                   Case number (if known)   18-04002

    property            note, which includes a                              Retain the property and [explain]:
    securing debt:      mortgage on 4730 Whitwill
                        Blvd. and 2150 Eleanor Drive


    Creditor's     The Sandlapper Management                                Surrender the property.                                 No
    name:          Group, LLC                                               Retain the property and redeem it.
                                                                                                                                    Yes
                                                                            Retain the property and enter into a
    Description of      4730 Whitwill Blvd. North                           Reaffirmation Agreement.
    property            Charleston, SC 29418                                Retain the property and [explain]:
    securing debt:      Charleston County
                        Rental Property. In addition to
                        the first mortgage, property is
                        also collateral for a mortgage
                        note, which includes a
                        mortgage on 4720 Bayfield
                        Drive and 2150 Eleanor Drive


    Creditor's     The Sandlapper Management                                Surrender the property.                                 No
    name:          Group, LLC                                               Retain the property and redeem it.
                                                                                                                                    Yes
                                                                            Retain the property and enter into a
    Description of      4734 Whitwill Blvd. North                           Reaffirmation Agreement.
    property            Charleston, SC 29418                                Retain the property and [explain]:
    securing debt:      Charleston County
                        Rental Property. In addition to
                        the first mortgage, property is
                        also collateral for a mortgage
                        note, which includes a
                        mortgage on 4735 Linfield Lane
                        and 4717 Linfield Lane.


    Creditor's     The Sandlapper Management                                Surrender the property.                                 No
    name:          Group, LLC                                               Retain the property and redeem it.
                                                                                                                                    Yes
                                                                            Retain the property and enter into a
    Description of      4735 Linfield Lane North                            Reaffirmation Agreement.
    property            Charleston, SC 29418                                Retain the property and [explain]:
    securing debt:      Charleston County
                        Rental Property. In addition to
                        the first mortgage, property is
                        also collateral for a mortgage
                        note, which includes a
                        mortgage on 4734 Whitwill
                        Blvd. and 4717 Linfield Lane.


    Creditor's     Wells Fargo Home Mortgage                                Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      4730 Whitwill Blvd. North                           Reaffirmation Agreement.
                        Charleston, SC 29418
                        Charleston County
                        Rental Property. In addition to
                        the first mortgage, property is

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                page 3

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                       Desc Main
                                                                     Document      Page 87 of 99

 Debtor 1      George Louis Schweers
 Debtor 2      Carroll Cox Schweers                                                                   Case number (if known)   18-04002

    property            also collateral for a mortgage                      Retain the property and [explain]:
    securing debt:      note, which includes a
                        mortgage on 4720 Bayfield
                        Drive and 2150 Eleanor Drive


    Creditor's     Wells Fargo Home Mortgage                                Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      4734 Whitwill Blvd. North                           Reaffirmation Agreement.
    property            Charleston, SC 29418                                Retain the property and [explain]:
    securing debt:      Charleston County
                        Rental Property. In addition to
                        the first mortgage, property is
                        also collateral for a mortgage
                        note, which includes a
                        mortgage on 4735 Linfield Lane
                        and 4717 Linfield Lane.


    Creditor's     Wells Fargo Home Mortgage                                Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      4717 Linfield Lane North                            Reaffirmation Agreement.
    property            Charleston, SC 29418                                Retain the property and [explain]:
    securing debt:      Charleston County
                        Rental Property. In addition to
                        the first mortgage, property is
                        also collateral for a mortgage
                        note, which includes a
                        mortgage on 4734 Whitwill
                        Blvd. and 4735 Linfield Lane.


    Creditor's     Wells Fargo Home Mortgage                                Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      2150 Eleanor Drive North                            Reaffirmation Agreement.
    property            Charleston, SC 29405                                Retain the property and [explain]:
    securing debt:      Charleston County
                        Rental Property. In addition to
                        the first mortgage, property is
                        also collateral for a mortgage
                        note, which includes a
                        mortgage on 4734 Whitwill
                        Blvd. and 4720 Bayfield Drive


    Creditor's     Wells Fargo Home Mortgage                                Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      4720 Bayfield Drive North                           Reaffirmation Agreement.
                        Charleston, SC 29418
                        Charleston County
                        Rental Property. In addition to
                        the first mortgage, property is


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                page 4

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                          Desc Main
                                                                     Document      Page 88 of 99

 Debtor 1      George Louis Schweers
 Debtor 2      Carroll Cox Schweers                                                                   Case number (if known)    18-04002

    property            also collateral for a mortgage                      Retain the property and [explain]:
    securing debt:      note, which includes a
                        mortgage on 4730 Whitwill
                        Blvd. and 2150 Eleanor Drive


    Creditor's     Wells Fargo Home Mortgage                                Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      4735 Linfield Lane North                            Reaffirmation Agreement.
    property            Charleston, SC 29418                                Retain the property and [explain]:
    securing debt:      Charleston County
                        Rental Property. In addition to
                        the first mortgage, property is
                        also collateral for a mortgage
                        note, which includes a
                        mortgage on 4734 Whitwill
                        Blvd. and 4717 Linfield Lane.


    Creditor's     William Hall                                             Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      4730 Whitwil Blvd., 4720                            Reaffirmation Agreement.
    property            Bayfield Drive, 2150 Eleanor                        Retain the property and [explain]:
    securing debt:      Drive - Business Debt
                        Rental Property

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:               Courtney Jones                                                                                      No

                                                                                                                                  Yes

 Description of leased        Residential Lease.
 Property:

 Lessor's name:               David & Stacey Reid                                                                                 No

                                                                                                                                  Yes

 Description of leased        Residential Lease.
 Property:

 Lessor's name:               Erica Smith                                                                                         No

                                                                                                                                  Yes

 Description of leased        Residential Lease.
 Property:



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 5

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                       Desc Main
                                                                     Document      Page 89 of 99

 Debtor 1      George Louis Schweers
 Debtor 2      Carroll Cox Schweers                                                                  Case number (if known)   18-04002

 Lessor's name:               Joseph Gilliard                                                                                  No

                                                                                                                               Yes

 Description of leased        Residential Lease.
 Property:

 Lessor's name:               Shalon Williams                                                                                  No

                                                                                                                               Yes

 Description of leased        Residential Lease.
 Property:

 Lessor's name:               Tonvet Bryant                                                                                    No

                                                                                                                               Yes

 Description of leased        Residential Lease.
 Property:

 Lessor's name:               Yashece Smith                                                                                    No

                                                                                                                               Yes

 Description of leased        Residential Lease.
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ George Louis Schweers                                                    X /s/ Carroll Cox Schweers
       George Louis Schweers                                                           Carroll Cox Schweers
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        August 20, 2018                                                  Date    August 20, 2018




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                page 6

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
               Case 18-04002-dd                     Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                                Desc Main
                                                                     Document      Page 90 of 99

 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              George Louis Schweers
 Debtor 2              Carroll Cox Schweers                                                                1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            District of South Carolina
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number           18-04002
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from a business, profession, or farm $                     Copy here -> $                              $
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from rental or other real property            $            Copy here -> $                              $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
              Case 18-04002-dd                      Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                              Desc Main
                                                                     Document      Page 91 of 99
 Debtor 1     George Louis Schweers
 Debtor 2     Carroll Cox Schweers                                                                      Case number (if known)   18-04002


                                                                                                    Column A                     Column B
                                                                                                    Debtor 1                     Debtor 2 or
                                                                                                                                 non-filing spouse
  8. Unemployment compensation                                                           $                                       $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                            $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                        $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                      $                            $
                                                                                                    $                            $
                  Total amounts from separate pages, if any.                                    +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.               $                        +   $                   =   $

                                                                                                                                                 Total current monthly
                                                                                                                                                 income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>            $


              Multiply by 12 (the number of months in a year)                                                                                        x 12
       12b. The result is your annual income for this part of the form                                                                 12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                          13.   $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ George Louis Schweers                                              X /s/ Carroll Cox Schweers
                George Louis Schweers                                                     Carroll Cox Schweers
                Signature of Debtor 1                                                     Signature of Debtor 2
        Date August 20, 2018                                                       Date August 20, 2018
             MM / DD / YYYY                                                             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                   Desc Main
                                                                     Document      Page 92 of 99

 Fill in this information to identify your case:

 Debtor 1            George Louis Schweers

 Debtor 2           Carroll Cox Schweers
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of South Carolina

 Case number         18-04002                                                                     Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                     12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Go to line 3.
                  Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                         submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Complete Form 122A-1. Do not submit this supplement.
                  Yes.   Check any one of the following categories that applies:
                                                                                            If you checked one of the categories to the left, go to Form
                         I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                         90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                            submit this supplement with the signed Form 122A-1. You
                         I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                         90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                         which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                            homeland defense activity, and for 540 days afterward. 11
                         I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                         I performed a homeland defense activity for at least 90 days,
                                                                                               If your exclusion period ends before your case is closed,
                         ending on                  , which is fewer than 540 days before I
                                                                                               you may have to file an amended form later.
                         file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38              Desc Main
                                                                     Document      Page 93 of 99

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                 Desc Main
                                                                     Document      Page 94 of 99


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38               Desc Main
                                                                     Document      Page 95 of 99
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38               Desc Main
                                                                     Document      Page 96 of 99
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
             Case 18-04002-dd                       Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38                    Desc Main
                                                                     Document      Page 97 of 99
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                       District of South Carolina
             George Louis Schweers
 In re       Carroll Cox Schweers                                                                             Case No.      18-04002
                                                                                   Debtor(s)                  Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  7,500.00
             Prior to the filing of this statement I have received                                        $                  7,500.00
             Balance Due                                                                                  $                       0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Debtor 1's mother

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 The services of Attorney included in the base fee are those normally contemplated for a Chapter 7 case,
                 including: all services reasonably necessary to fully inform Client of Client's rights and responsibilities under the
                 bankruptcy laws; preparation and electronic filing of petition, schedules, supplemental local forms, and mailing
                 matrix; preparation for and attendance at Section 341 meeting.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representing Client in any dischargeability proceeding, including student loan discharge proceedings;
               representing Client in any contested matter of any kind, including appeals; filing any amendments to the
               Schedules, unless the amendment arises out of a mistake by Attorney; representing Client in any other matters
               not specifically designated as a base fee service in the fee agreement; filing motions under section 522(f) to
               avoid judicial liens or security interests in household goods unless contemplated prior to filing. Additionally, the
               fee does not include attending continued 341s, which shall be billed at $500 per attendance (unless requested by
               Attorney or caused by acts or omissions of Attorney.) Pursuant to South Carolina Local Bankruptcy Rule
               9011-1(b), except for adversary proceedings and appeals, Attorney shall remain the responsible attorney of
               record for all purposes including the representation of Client at all hearings and in all matters that arise in
               conjunction with the case regardless of Client's ability to pay for those additional matters.




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38               Desc Main
                                                                     Document      Page 98 of 99
             George Louis Schweers
 In re       Carroll Cox Schweers                                                                    Case No.     18-04002
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 20, 2018                                                            /s/ Russell A. DeMott
     Date                                                                       Russell A. DeMott
                                                                                Signature of Attorney
                                                                                DeMott Law Firm, P.A.
                                                                                103 Grandview Drive
                                                                                Suite B
                                                                                Summerville, SC 29483
                                                                                (843) 695-0830 Fax: (843) 408-4443
                                                                                russ@demottlawfirm.com
                                                                                Name of law firm




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
            Case 18-04002-dd                        Doc 17            Filed 08/20/18 Entered 08/20/18 16:58:38              Desc Main
                                                                     Document      Page 99 of 99


                                                   LOCAL OFFICIAL FORM 1007-1(b) TO SC LBR 1007-1

                                                               United States Bankruptcy Court
                                                                       District of South Carolina
            George Louis Schweers
 In re      Carroll Cox Schweers                                                                             Case No.   18-04002
                                                                                   Debtor(s)                 Chapter    7


                                           CERTIFICATION VERIFYING CREDITOR MATRIX
         The above named debtor, or attorney for the debtor if applicable, hereby certifies pursuant to South Carolina Local
Bankruptcy Rule 1007-1 that the master mailing list of creditors submitted either on computer diskette, electronically filed via
CM/ECF, or conventionally filed in a typed hard copy scannable format which has been compared to, and contains identical
information to, the debtor's schedules, statements and lists which are being filed at this time or as they currently exist in draft form.

            Master mailing list of creditors submitted via:

                        (a)                  computer diskette

                        (b)           scannable hard copy
                        (number of sheets submitted       )

                        (c)         X     electronic version filed via CM/ECF


 Date: August 20, 2018                                                  /s/ George Louis Schweers
                                                                        George Louis Schweers
                                                                        Signature of Debtor

 Date: August 20, 2018                                                  /s/ Carroll Cox Schweers
                                                                        Carroll Cox Schweers
                                                                        Signature of Debtor

 Date: August 20, 2018                                                  /s/ Russell A. DeMott
                                                                        Signature of Attorney
                                                                        Russell A. DeMott
                                                                        DeMott Law Firm, P.A.
                                                                        103 Grandview Drive
                                                                        Suite B
                                                                        Summerville, SC 29483
                                                                        (843) 695-0830 Fax: (843) 408-4443
                                                                        Typed/Printed Name/Address/Telephone

                                                                        DC I.D. 10020 SC
                                                                        District Court I.D. Number




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
